      Case 4:21-cv-01683-MWB         Document 164       Filed 01/28/25   Page 1 of 73




                IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

    PATRICIA HOLMES,                                      No. 4:21-CV-01683

                Plaintiff,                                (Chief Judge Brann)

         v.

    AMERICAN HOMEPATIENT, INC.,

                Defendant.

                              MEMORANDUM OPINION

                                     JANUARY 28, 2025

        “The determination of a reasonable attorney’s fee for a prevailing party under

a fee shifting statute generally is a disagreeable and tedious task, especially where

the fee petition is vigorously contested ….”1 The laborious nature of the Court’s

review has been compounded by the overzealous, and frequently unhelpful,

arguments put forth by the parties. Plaintiff is entitled to neither a king’s ransom nor

a paltry sum; she may recover her reasonable attorneys’ fees. After expending

considerable effort to review the entire record, I grant Patricia Holmes’ First Motion

for Attorneys’ Fees and Supplemental Motion for Attorneys’ Fees in part.




1
     Maldonado v. Houstoun, 256 F.3d 181, 182 (3d Cir. 2001).
        Case 4:21-cv-01683-MWB             Document 164        Filed 01/28/25      Page 2 of 73




I.       DISCUSSION

         A.      Summary of the Fees and Costs Requested

         Plaintiff seeks to recover her attorneys’ fees under 42 U.S.C. § 1988. As

Defendant correctly notes, Holmes’ requested hours do not align with the

documentation submitted. After a painstaking, line-by-line review of these materials,

I summarize Plaintiff’s requested attorneys’ fees and costs in the tables below.

                    Plaintiff’s Requested Attorneys’ and Paralegals’ Fees

    Name                            Hours2              Hourly Rate            Total Fees
    Thomas B. Anderson              462.6               $600.00                $277,560.00
    (Initial Request)
    Thomas B. Anderson              110.0               $600.00                $66,000.00
    (Supplemental Request)
    James G. Bordas, III            30.75               $600.00                $18,450.00
    (Initial Request)
    James G. Bordas, III            5.3                 $600.00                $3,180.00
    (Supplemental Request)
    Donneshia Johnson               37                  $175.00                $6,475.00
    (Initial Request)
    Jessica Karadeema               72.7                $175.00                $12,722.50
    (Initial Request)
    Jessica Karadeema               0.2                 $175.00                $35.00
    (Supplemental Request)
    Richard Monahan                 186.3               $500.00                $93,150.00
    (Supplemental Request)
    Michael Prascik                 47.6                $300.00                $14,280.00
    (Supplemental Request)

2
      The hours sought have been adjusted as follows: Anderson’s requested hours were reduced by
      14.4 hours in his initial request and by 5.5 hours in his supplemental request; Bordas’ hours
      were reduced by 2.25 hours in his initial request; Karadeema’s hours were reduced by 14.75
      hours in her initial request; and Prasick’s hours were increased by 0.2 hours in his sole request.

                                                    2
        Case 4:21-cv-01683-MWB           Document 164        Filed 01/28/25      Page 3 of 73




         In total, Plaintiff has requested $491,852.50 in attorneys’ fees. Holmes then

seeks to enhance this award by a factor of five to reach a staggering $2,459,262.50.

Plaintiff’s counsel appear to have forgotten that Holmes is entitled to recover only

her reasonable attorneys’ fees. Nothing more, nothing less.

         Additionally, Holmes seeks to recover costs associated with this case. Given

the discussion above, it is no surprise that issues arose as the Court reviewed

Holmes’ requested costs. In her First Motion for Attorneys’ Fees, Plaintiff’s

breakdown of costs falls $1,094.30 short of what she requested.3 Holmes

miscalculated the following categories in her brief: Depositions (undercounted by

$414.004); Inside copying (undercounted by $441.35); and Computer Legal

Research (undercounted by $2.80).5 I modified the categories to reflect the amounts

contained in the Expense Report submitted in support of the First Motion for

Attorneys’ Fees.6 But there are issues with the following two entries:

    Date      Description                           Invoice No.    Component Price
    3/21/2024 Medical Records, Bills                [Left Blank in MedRec    $186.15
              and Reports                           Documentation]
              Thomas B. Anderson
              Bordas & Bordas
              Attorneys, PLLC

3
      Doc. 107 (Brief in Support of First Motion for Attorneys’ Fees) at 3-4.
4
      I note that this $414.00 is attributable to the cost of receiving the Trial Transcripts from the
      Court Reporter. As this is a cost that can be recovered from Defendant, I simply keep it in the
      “Depositions” category.
5
      Doc. 107 (Brief in Support of First Motion for Attorneys’ Fees) at 3-4.
6
      Id., Ex. B (Expense Reports).

                                                   3
       Case 4:21-cv-01683-MWB           Document 164        Filed 01/28/25     Page 4 of 73




    Date      Description              Invoice No.    Component Price
              Travel Reimbursement
    3/21/2024 Filing Fees              [Left Blank in FF        $50.00
              Chase Card Services 0124 Documentation]

           This $236.15 is unaccounted for in Plaintiff’s categorization of her costs.

Despite receiving no indication from Holmes as to how to label these costs, I

identified the $50.00 filing fee as the charge associated with Bordas’ Special

Admission to this Court.7 But it is unclear how Medical Records and Travel

Reimbursement are combined for the $186.15 or what relevance medical records

had to her counsel’s preparation of this case. As such, I exclude that cost.

           Plaintiff’s costs in her Supplemental Motion for Attorneys’ Fees contained a

single issue: double counting a travel charge for $2,090.73.8 Accordingly, I construe

Plaintiff’s Motions as asking for a combined total of $25,702.37 in costs, as

summarized in the table below.

                                  Plaintiff’s Requested Costs

    Initial or Supplemental           Description of Cost               Cost Amount
    Request
    Initial Request                   Depositions9                      $1,119.75
    Initial Request                   Mediation                         $4,800.00
    Initial Request                   Court Costs                       $452.00

7
      Id. (Filing Fee date of March 21, 2024); Doc. 73 (Petition for Special Admission).
8
      This April 24, 2024 charge was submitted in both the First Motion for Attorneys’ Fees and the
      Supplemental Motion for Attorneys’ Fees. Doc. 107 (Brief in Support of First Motion for
      Attorneys’ Fees), Ex. B (Expense Reports); Doc. 154 (Supplemental Motion for Attorneys’
      Fees), Ex. B (Expense Report).
9
      Again, the “Depositions” category contains $414.00 in costs attributable to receiving the
      transcript from the Court Reporter.

                                                  4
      Case 4:21-cv-01683-MWB           Document 164        Filed 01/28/25      Page 5 of 73




 Initial or Supplemental             Description of Cost                Cost Amount
 Request
 Initial Request                     Computer Legal Research            $2,517.61
 Initial Request                     Inside Copying                     $2,676.75
 Initial Request                     Postage and Delivery               $142.90
 Initial Request                     Travel                             $4,285.58
 Supplemental Request                Computer Legal Research            $8,160.98
 Supplemental Request                Inside Copying                     $1,148.10
 Supplemental Request                Court Reporter/Transcript          $210.00
 Supplemental Request                Travel/Lodging10                   $188.70

        B.      A Prevailing Party

        Title 42 U.S.C. §1988 allows the Court to award the “‘prevailing party’ in a

civil rights action ‘a reasonable attorney’s fee as part of the costs.”11 “[T]o be

considered a prevailing party within the meaning of § 1988, the plaintiff must be

able to point to a resolution of the dispute which changes the legal relationship

between itself and the defendant.”12 It is undisputed that Holmes is a prevailing party

under § 1988, but AHOM challenges what exactly post-trial issues she prevailed on.

This objection is dealt with separately below. Given her status as a prevailing party,

I must now determine what to award Plaintiff.




10
     The supplemental request duplicates a travel charge for $2,090.73 that was accounted for in
     the travel category of the First Motion for Attorneys’ Fees. Consequently, I limit the
     Supplemental Request to the sole remaining travel expense.
11
     Tenafly Eruv Ass’n v. Borough of Tenafly, 195 F. App’x 93, 95 (3d Cir. 2006) (citing Hensley
     v. Eckerhart, 461 U.S. 424, 429, 103 S. Ct. 1933, 76 L. Ed. 2d 40 (1983)).
12
     Tx. State Teachers Ass’n v. Garland Indep. Sch. Dist., 489 U.S. 782, 792, 109 S. Ct. 1486, 103
     L. Ed. 2d 866 (1989).

                                                 5
      Case 4:21-cv-01683-MWB           Document 164        Filed 01/28/25      Page 6 of 73




        C.      The Lodestar

        The United States Court of Appeals for the Third Circuit’s lodestar method

has become “the guiding light of fee shifting-jurisprudence.”13 “Under the lodestar

method, an[] attorney’s reasonable hourly rate is multiplied by the number of hours

the attorney reasonably spent working on a matter.”14 “Once the court determines

the reasonable hourly rate, it multiplies that rate by the reasonable hours expended

to obtain the lodestar.”15 “The lodestar is presumed to be the reasonable fee.”16 When

completing this analysis, I am to go “line-by-line” through the billing statement and

must conduct “a thorough and searching analysis” to ensure meaningful appellate

review is possible.17

        At the December 16, 2024 evidentiary hearing, the parties seemed unfamiliar

with the “burden shifting” procedure I am to employ when evaluating a fee

petition.18 Under this procedure, the prevailing party first “‘bears the burden’ of

establishing the prima facie case by ‘producing sufficient evidence of what

constitutes a reasonable market rate[.]’”19 “If the plaintiff fails to meet her prima

facie case, the district court has the discretion to determine what award is



13
     Perdue v. Kenny A. ex rel. Winn, 559 U.S. 542, 551, 130 S. Ct. 1662, 176 L. Ed. 2d 494 (2010).
14
     D.O. ex rel. M.O. v. Jackson Twp. Bd. of Educ., No. CV 17-1581 (TJB), 2019 U.S. Dist. LEXIS
     72875, 2019 WL 1923388, at *2 (D.N.J. Apr. 30, 2019).
15
     Rode v. Dellarciprete, 892 F.2d 1177, 1183 (3d Cir. 1990).
16
     Id.
17
     Interfaith Cmty, Org. v. Honeywell Int’l, Inc., 426 F.3d 694, 703 n.5 (3d Cir. 2005).
18
     Carey v. City of Wilkes-Barre, 496 F. App’x 234, 236 (3d Cir. 2012).
19
     Id. (quoting Evans v. Port Auth. of N.Y., 273 F.3d 346, 361 (3d Cir. 2001)).

                                                 6
       Case 4:21-cv-01683-MWB            Document 164        Filed 01/28/25      Page 7 of 73




reasonable.”20 “Otherwise, once the plaintiff has established a prima facie case for

the requested hourly rate, the district court does not have the discretion to question

or change the rate absent record evidence” from the opposing party.21 But “[o]nce

the adverse party raises objections to the fee request, the district court has a great

deal of discretion to adjust the fee award in light of those objections.”22

        I emphasize that this limitation on my discretion comes into effect only after

the Court concludes the prevailing party has met its initial burden. To adopt

Plaintiff’s position would result in rubberstamped fee petitions where, for whatever

reason, inadequately supported aspects of the petition are not challenged. Of course,

it cannot be that the Court lacks an independent obligation to ensure that the

requesting party’s evidence meets this initial burden. Otherwise, for example, there

would be no reason for courts to independently review fee petitions in default

judgment cases.23




20
     Id. at 237. See also Washington v. Phila. Cnty. Ct. of Com. Pl., 89 F.3d 1031, 1036 (3d Cir.
     1996).
21
     Id.
22
     Rode, 892 F.2d at 1183.
23
     E.g., Winn v. Hermani Mgmt., LLC, Civ. A. No. 18-4240, 2019 U.S. Dist. LEXIS 216248 (E.D.
     Pa. Dec. 17, 2019) (“Counsel has filed a detailed and well-documented petition, to which there
     has been no response. Having independently reviewed the petition and its attachments,
     including affidavits as to the appropriate market rate, I conclude that the petition should be
     granted in its entirety”). See also Wilson v. Advanced Urgent Care, P.C., No. 4:16-CV-00214,
     2018 WL 1315663, 2018 U.S. Dist. LEXIS 41664, at *2 (M.D. Pa. Mar. 14, 2018) (“Even in
     a default judgment case, therefore, Plaintiff must establish the threshold reasonable lodestar to
     the Court’s satisfaction.”).

                                                  7
      Case 4:21-cv-01683-MWB          Document 164       Filed 01/28/25    Page 8 of 73




               1.     Reasonable Hourly Rate

        First, I compare the reasonableness of an attorney’s hourly rate to the relevant

market rate. “A reasonable market rate is established ‘with reference to the

community billing rate charged by attorneys of equivalent skill and experience

performing work of similar complexity.’”24 Therefore, it is Holmes’ burden to

establish a reasonable market rate “for the essential character and complexity of the

legal services rendered.”25 The Third Circuit has instructed district courts to look to

the vicinage in which the Court sits as the relevant community.26 I therefore tailor

my analysis to the market rates in the Williamsport vicinage. Although I previously

set the reasonable market rates in this vicinage for experienced attorneys at a range

of $180 to $325,27 sufficient time has passed that these rates must be revisited.

        “An attorney’s usual billing rate is a good starting point for assessing

reasonableness, though it is not dispositive.”28 To establish the reasonable market

rate, Holmes must produce evidence beyond affidavits from her own attorneys.29

This “evidence often comes in the form of affidavits from other attorneys.”30 I am to

also consider “the relative simplicity of the case, the quality of the counsel’s moving



24
     Carey, 496 F. App’x at 236 (quoting Evans, 273 F.3d at 361).
25
     Smith v. Phila. Hous. Auth., 107 F.3d 223, 225 (3d Cir. 1997).
26
     E.g., Interfaith, 426 F.3d at 699.
27
     Beattie v. Line Mountain Sch. Dist., No. 4:13-cv-02655, 2014 WL 3400975 (M.D. Pa. July 10,
     2014).
28
     Potence v. Hazleton Area Sch. Dist., 357 F.3d 366, 374 (3d Cir. 2004).
29
     Souryavong v. Lackawanna Cnty., 159 F. Supp. 3d 514, 525 (M.D. Pa. 2016).
30
     Carey, 496 F. App’x at 236.

                                               8
      Case 4:21-cv-01683-MWB           Document 164        Filed 01/28/25      Page 9 of 73




papers, and my ‘perception of counsel’s skill and experience during the trial of the

underlying matter.’”31 Although certainly tempting, the Court cannot simply rely on

rates awarded to Plaintiff’s attorneys in prior cases unless the work was

contemporaneously performed and of a similar nature.32

                2.     Reasonable Hours

        The Court must also evaluate the evidence supporting the hours claimed.

Typically, the prevailing party can meet its burden through the submission of

detailed time records.

        D.      Requested Hourly Rates

        As described in the tables above, the attorneys in this case have requested to

be compensated at the following hourly rates: $600 per hour for Anderson and

Bordas; $500 per hour for Monahan; and $300 per hour for Prasick. Johnson and

Karadeema both requested to be compensated at an hourly rate of $175. These rates

are notably higher than the rates I previously set for the Williamsport vicinage in

Beattie v. Line Mountain School District.33



31
     Gillespie v. Dring, No. 3:15-CV-00950, 2019 U.S. Dist. LEXIS 180019, at *29 (M.D. Pa. Oct.
     17, 2019) (quoting Mantz v. Steven Singer Jewelers, 100 F. App’x 78, 81-82 (3d Cir. 2004)).
32
     Carey, 496 F. App’x at 237 (“Notably, hourly rates that were set for a specific attorney in
     previous court decisions do not generally constitute record evidence … unless those rates were
     set for the same attorney and for the same type of work over a contemporaneous time period.”)
     (citing Smith, 107 F.3d at 226 and Black Grievance Comm. V. Phila. Elec. Co., 802 F.2d 648,
     652 (3d Cir. 1986), vacated on other grounds, 483 U.S. 1015, 107 S. Ct. 3255, 97 L. Ed. 2d
     754 (1987)).
33
     Beattie v. Line Mountain Sch. Dist., No. 4:13-cv-02655, 2014 WL 3400975 (M.D. Pa. July 10,
     2014).

                                                 9
      Case 4:21-cv-01683-MWB           Document 164        Filed 01/28/25      Page 10 of 73




                1.     Use of a Current Hourly Rate

        Before I reach whether Plaintiff has met her burden regarding her requested

hourly rates, I will address AHOM’s objection to the use of a current hourly rate. To

support its contention that this is an improper fee enhancement, Defendant relies

solely on Perdue v. Kenny A. ex rel. Winn,34 a 2010 decision from the Supreme Court

of the United States. In that decision, Justice Alito clearly differentiated these two

issues. Writing for the Supreme Court, he stated:

        Third, there may be extraordinary circumstances in which an attorney’s
        performance involves exceptional delay in the payment of fees. An
        attorney who expects to be compensated under § 1988 presumably
        understands that payment of fees will generally not come until the end
        of the case, if at all. See ibid. Compensation for this delay is generally
        made “either by basing the award on current rates or by adjusting the
        fee based on historical rates to reflect its present value.” Missouri v.
        Jenkins, 491 U.S. 274, 282, 109 S.Ct. 2463, 105 L. Ed. 2d 299 (1989)
        (internal quotation marks omitted). But we do not rule out the
        possibility that an enhancement may be appropriate where an attorney
        assumes these costs in the face of unanticipated delay, particularly
        where the delay is unjustifiably caused by the defense. In such a case,
        however, the enhancement should be calculated by applying a method
        similar to that described above in connection with exceptional delay in
        obtaining reimbursement for expenses.35

        This definitively precludes AHOM’s objection, and the Third Circuit’s

treatment of this issue reinforces this conclusion.36 Given Defendant’s extensive



34
     559 U.S. 542, 130 S. Ct. 1662, 176 L. Ed. 2d 494 (2010).
35
     Perdue, 559 U.S. at 554.
36
     E.g., Lanni v. N.J., 259 F.3d 146, 150 (3d Cir. 2001) (“When attorney’s fees are awarded, the
     current market rate must be used.”) and Simring v. Rutgers, 634 F. App’x 853 (3d Cir. 2015)
     (citing Lanni). See also L.J. v. Audubon Bd. of Educ., 373 F. App’x 294, 297 n.2 (3d Cir. 2010)
     (“To the extent the District relied on the market rate during the period in which the majority

                                                 10
      Case 4:21-cv-01683-MWB           Document 164         Filed 01/28/25     Page 11 of 73




discussion of Perdue elsewhere,37 I find it perplexing that I must address this issue

at all. Without any citation for this proposition beyond Perdue itself, I will calculate

Plaintiff’s attorneys’ fees with a current hourly rate.38

                2.      Reasonable Hourly Rates

        As previously noted, Holmes bears the burden of submitting evidence to prove

the reasonableness of her attorneys’ hourly rates. In support of her requested rates,

Holmes provided records from cases litigated in West Virginia and affidavits from

her own attorneys, Attorney Clifford A. Rieders, and Attorney Colleen E. Ramage.

Much of this evidence provides no insight into the market rate for comparable work

in the Williamsport vicinage.

                        a.     Qualifications of Holmes’ Attorneys

                               i.      Anderson

        Thomas B. Anderson has been practicing law for approximately 28 years, with

a focus on employment law for the past 18 years.39 He counts amongst his

professional achievements two, recent multi-million verdicts in employment cases



     billing occurred rather than the ‘current market rate’ at the time of the fee petition, this was
     error.”).
37
     Doc. 127 (Brief in Opposition to First Motion for Attorney’s Fees) at 12.
38
     Challenging every aspect of Plaintiff’s fees petition is an ineffective strategy when doing so
     requires arguments that are clearly precluded by binding precedent. Perhaps Defendant and its
     counsel would benefit from guidance found in Sun Tzu’s The Art of War: “So in war, the way
     is to avoid what is strong, and strike at what is weak.” SUN TZU, THE ART OF WAR, VI Weak
     Points and Strong, para. 30 (trans., Lionel Giles, Fingerprint! Publishing, 2018).
39
     Doc. 107 (Brief in Support of First Motion for Attorneys’ Fees), Ex. C (Anderson Affidavit)
     ¶¶ 3; 8.

                                                 11
      Case 4:21-cv-01683-MWB            Document 164   Filed 01/28/25   Page 12 of 73




and membership of the Academy of Trial Lawyers of Allegheny County and the

Western Pennsylvania Employment Lawyers Association.40 In the Middle District

of Pennsylvania, Anderson has litigated eight employment and civil rights cases.41

According to Anderson, his and Bordas’ hourly rate of $600 and the hourly paralegal

rate of $175 are “fair and reasonable for the complexity of the issues involved in this

case and [are] comparable to the rates typically charged in the Middle District and

Western District” of Pennsylvania.42

                                ii.    Bordas

        James G. Bordas III has been practicing law for approximately 24 years, and

he is the managing partner at his firm.43 He is frequently the firm’s “chief settlement

negotiator,” and he has obtained verdicts “of $16.9 million and $10 million on behalf

of individual plaintiffs ….”44 Other examples of his professional achievements

include: membership on the Board of Governors for the West Virginia Association

for Justice; receiving the Super Lawyer designation for ten years; serving as lead

counsel in complex litigation; and speaking at continuing legal education seminars.45

As to the present case, Bordas participated in the mediation, assisted with the

development of Plaintiff’s trial strategy, and reviewed all of the depositions in this


40
     Id. ¶¶ 5-7.
41
     Id. ¶ 10.
42
     Id. ¶ 12.
43
     Id., Ex. D (Bordas Affidavit) ¶¶ 2, 6.
44
     Id. ¶ 11.
45
     Id. ¶¶ 4-5, 7-9.

                                                12
      Case 4:21-cv-01683-MWB           Document 164        Filed 01/28/25     Page 13 of 73




case.46 Bordas “understand[s]” his hourly rate of $600 is “either commensurate with

[his] specialty, experience, background, and qualifications, or perhaps even slightly

low.”47

                               iii.   Monahan

        Richard Monahan has approximately 31 years of experience, and he

completed a three-year federal judicial clerkship.48 He has obtained multi-million-

dollar verdicts in West Virginia in non-employment cases and has been involved in

complex litigation.49 More notably, Monahan has “briefed and argued a case before

the Supreme Court of the United States, resulting in a unanimous decision in favor

of West Virginia class action plaintiffs in Smith v. Bayer Corp.”50 Further, he is a

member of the American Association for Justice and the West Virginia Association

for Justice, for which he serves on the Board of Governors.51 Finally, Monahan

asserts that he follows Bordas and Bordas’ “standard practice to contemporaneously

record billable time in 1/10-hour increments ….”52




46
     Id. ¶ 18.
47
     Id. ¶ 16.
48
     Doc. 154 (Supplemental Motion for Attorneys’ Fees), Ex. C (Monahan Affidavit) ¶ 6.
49
     Id. ¶¶ 7-8.
50
     Id. ¶ 9.
51
     Id. ¶ 5. Monahan also notes that he has received an AV rating from Martindale-Hubbell since
     2015; he has been a West Virginia Super Lawyer for the last four years; he has previously been
     named a Top 100 Trial Attorney for plaintiff civil litigation and a Top 25 Attorney in Class
     Actions and Product Liability by the National Trial Lawyers. Id. ¶ 10.
52
     Id. ¶ 14.

                                                13
      Case 4:21-cv-01683-MWB           Document 164        Filed 01/28/25      Page 14 of 73




                               iv.     Prasick

        Michael Prasick has been practicing law for 23 years, and he has litigated

complex products liability cases for over 13 years.53 Prasick has prior experience as

the supervising attorney of a regional office of a large nonprofit public interest law

firm, and he is a member of the American Association for Justice and the West

Virginia Association for Justice.54 He indicated that his hourly rate of $300 “is fair

and reasonable for the complexity of the issues involved in this case.”55 He notes

that this is half the rate sought by Anderson and Bordas and has recently been

approved by a state court in West Virginia.56 Finally, he notes that he too followed

Bordas and Bordas standard practice “to contemporaneously record billable time in

1/10 hour increments ….”57

                       b.      The Other Evidence Provided

        While these affidavits speak to Holmes’ attorneys’ qualifications and

experience, our Court of Appeals has clearly instructed that these affidavits alone

cannot satisfy a prevailing party’s burden.58 Accordingly, I turn to the remaining

evidence in the record.


53
     Id., Ex. D (Prasick Affidavit) ¶¶ 3-4, 6.
54
     Id. ¶¶ 5, 7.
55
     Id. ¶ 8.
56
     Id.
57
     Id. ¶ 11.
58
     E.g., Chaaban v. Criscito, 2013 U.S. Dist. LEXIS 58051, 2013 WL 1737689, at *10 (D.N.J.
     Apr. 3, 2013), report and recommendation adopted, 2013 U.S. Dist. LEXIS 57300, 2013 WL
     1730733 (D.N.J. Apr. 22, 2013) (“In satisfying a prima facie case of reasonable fees, attorneys
     may not rest on their own affidavits.”). See also Rode, 892 F.2d at 1183.

                                                 14
      Case 4:21-cv-01683-MWB          Document 164       Filed 01/28/25     Page 15 of 73




                             i.       The West Virginia Documents

        In this Circuit, district courts cannot simply rely on what fees an attorney has

been awarded in the past unless the work was similar and contemporaneously

performed.59 Here, the Court received two documents that were filed in federal and

state court, respectively, in West Virginia. Judicial approval of hourly rates in West

Virginia tells the Court nothing about the market rate in the Williamsport vicinage.60

For that reason, I set aside these documents. To consider them would require baseless

speculation. With no way to meaningfully compare the approval of those rates to the

relevant market rate here, I proceed to the next piece of evidence in the record.

                            ii.       Ramage’s Affidavit

        Much like the West Virginia court documents, Colleen Ramage’s declaration

provides no direction to the Court. First, I acknowledge that she has indicated she is

“generally familiar with hourly rates normally charged by experienced attorneys in

[the] Western and Middle Districts of Pennsylvania who handle employment

matters,”61 but aspects of her affidavit cause the Court to question her familiarity

with the rates charged in the Middle District of Pennsylvania. In a rather telling



59
     Pocono Mt. Sch. Dist. v. T.D., No. 22-1787, 2023 WL 2983501, 2023 U.S. App. LEXIS 9162,
     at *11 (3d Cir. Apr. 18, 2023).
60
     E.g., Shane T. v. Carbondale Area Sch. Dist., No. 3:16-00964, 2021 U.S. Dist. LEXIS 188850,
     2021 WL 4478237, at *19 (M.D. Pa. Sept. 30, 2021) (“Third, the opinions and orders from
     other cases plaintiffs submit are unpersuasive because they are from the Eastern District of
     Pennsylvania.”) (Mannion, J.).
61
     Doc. 107 (Brief in Support of First Motion for Attorneys’ Fees), Ex. F (Ramage Affidavit) ¶
     6.

                                               15
      Case 4:21-cv-01683-MWB           Document 164         Filed 01/28/25     Page 16 of 73




oversight, Ramage omitted her 2021 admission to the Middle District of

Pennsylvania from her affidavit.62 Ramage’s accolades and professional

memberships in this affidavit also trend towards the Pittsburgh area, if they are not

national in nature.63

        Even more critically, she simply declares that “Anderson’s requested hourly

rate of $600 is eminently reasonable given his level [of] experience, knowledge, and

ability compared to attorneys of his caliber in the Western and Middle Districts of

Pennsylvania, in addition to the complexity of the case at issue.”64 Reasonableness

is not considered in a vacuum; it must be in reference to the market rate of the

relevant community. Nothing in this averment, or indeed the remainder of the

affidavit, allows the Court to conclude that Anderson’s proposed hourly rate is

reflective of a reasonable market rate in this vicinage. Ramage never evaluates

Anderson’s rate solely in reference to the Middle District of Pennsylvania, let alone

the Williamsport vicinage. Given these issues, I conclude that Holmes cannot rely

on Ramage’s Affidavit to meet her initial burden.




62
     Id. ¶ 1 (“I am an attorney admitted to the practice of law in Pennsylvania since 1992 and before
     the United States District Court for the Western District of Pennsylvania, the United States
     Court of Appeals for the Third Circuit and the United States Supreme Court.”).
63
     Id. ¶¶ 1-4.
64
     Id. ¶ 7.

                                                 16
      Case 4:21-cv-01683-MWB          Document 164        Filed 01/28/25     Page 17 of 73




                           iii.       Rieders’ Affidavit

        Consequently, I turn now to the remaining evidence before the Court: Clifford

Rieders’ Affidavit. In this affidavit, Rieders first describes his own professional

career. He has been admitted to practice in New York, Pennsylvania, and the District

of Columbia.65 As to his caseload, Rieders notes that he typically “represents clients

in personal injury and medical malpractice” but he “also handle[s] one or two civil

rights cases per year, the most recent one with litigation completed in early 2024 …”

in the United States District Court for the Eastern District of Virginia.66

        Relevant to this analysis, Rieders contends that he has “knowledge about the

hourly rates charged by lawyers in the Middle District” of Pennsylvania due to: fee

petitions from his firm; his “examination of fee petitions filed by lawyers in other

cases;” his “role as an expert witness in several fee cases;” his “participation at Third

Circuit Judicial Conferences, in particular, the 1985 conference which focused on

the issue of court-awarded attorney fees;” his involvement with professional

organizations “such as the Pennsylvania Trial Lawyers Association (“PaTLA”)

where the issue of fees has been the subject of discussion;” and “speaking with other

attorneys who refer civil rights cases to me or who do such work.”67




65
     Id., Ex. E (Rieders Affidavit) ¶¶ 1-3. Other aspects of Rieders’ professional career are also
     described.
66
     Id. ¶ 19.
67
     Id. ¶ 28.

                                                17
      Case 4:21-cv-01683-MWB         Document 164       Filed 01/28/25    Page 18 of 73




        Much of this background does little to credibly bolster Rieders’ ability to

speak to attorney’s fees in civil rights cases in this vicinage. The 1985 Third Circuit

Judicial Conference is certainly on a relevant topic, but it is now stale given the four-

decade passage of time. Further, there is no indication that Rieders’ has a familiarity

with civil rights cases beyond “speaking with other attorneys who refer civil rights

cases to me or who do such work” and his handling of “one or two civil rights cases

per year” in unknown forums.68 These vague statements fail to demonstrate that he

is familiar with the market rate for civil rights cases in the Williamsport vicinage.

Serving as “an expert witness in several fee cases” and examining fee petitions from

his own firm and other lawyers similarly fails for a lack of specificity.

        Next, Rieders correctly notes that a district-wide rate will result in attorneys

being over-or-undercompensated depending on their location.69 That is undoubtedly

true since the Scranton/Wilkes-Barre and Harrisburg vicinages of this Court contain

larger legal markets. Yet he fails to appreciate that the Third Circuit has instructed

this Court to look to the vicinage in which it sits, not the entire district, as the relevant

community. Instead, he indicates his background, as described above, makes him

“knowledgeable about the hourly rates charged by lawyers in the Middle District”

and that “it is preferable, in a fee petition, to review the results of the case, the


68
     Id. ¶¶ 19, 28. The Rieders Affidavit indicates that the most recent civil rights case he
     participated in occurred in the Eastern District of Virginia. Id. This does not support a
     familiarity with the prevailing rates in the Williamsport vicinage.
69
     Id. ¶ 47.

                                              18
      Case 4:21-cv-01683-MWB          Document 164        Filed 01/28/25     Page 19 of 73




background and capability of counsel, the experience of counsel, and the rates

charged by other lawyers in the case, including the defense.”70 These averments

simultaneously make the very mistake he urges the Court to avoid and disregards

the Third Circuit’s instructions on evaluating the requested rates in the relevant

vicinage.

        Turning then to the rate Anderson has requested, Rieders contends that

Anderson’s proposed hourly rate of $600 “is extremely reasonable.”71 As to his own

rates, Rieders provides the Court with a somewhat confusing description of his

billing practices. First, he notes that he bills at an hourly rate of $750.00 “when

billing hourly.”72 Ordinarily, this may serve as sufficient evidence to support

Anderson’s hourly rate.73 But he qualifies the relevance of this hourly rate in a way

that undermines its evidentiary value; “much of [his] work is contingent fee, but not

all. Sometimes [Rieders] will take cases on a fee basis, neither hourly nor contingent

fee. Other times, [Rieders] will charge less than $750.00 per hour, under special

circumstances.”74 While only “a minority of [Rieders’] work is billed on an hourly

basis, [Rieders] has charged $750.00 per hour and will do so when appropriate.”75


70
     Id. ¶¶ 28, 46.
71
     Id. ¶ 37. Reasonableness alone is not the standard. The question is whether the rate is
     reasonable compared the relevant community’s market rate for similar services.
72
     Id. ¶ 39.
73
     E.g., J.S. ex rel. Snyder v. Blue Mountain Sch. Dist., No. 3:07-CV-585, 2014 U.S. Dist. LEXIS
     44478, 2014 WL 1321116, at *7 (M.D. Pa. Mar. 31, 2014).
74
     Doc. 107 (Brief in Support of First Motion for Attorneys’ Fees), Ex. E (Rieders Affidavit) ¶
     40.
75
     Id. ¶ 41.

                                                19
      Case 4:21-cv-01683-MWB           Document 164        Filed 01/28/25     Page 20 of 73




        These averments are insufficient to meet Holmes’ burden. By his own

admission, Rieders practices in several federal courts; yet there is no indication that

he has billed at a rate of $750.00 in the Middle District of Pennsylvania, much less

the Williamsport vicinage, for a civil rights case.76 The fact most of his practice is

comprised of medical malpractice and personal injury work reinforces this

conclusion. Further, the fact that only a “minority” of his work is billed on an hourly

basis, with some charged at less than $750.00 due to unknown “special

circumstances,” leads the Court to doubt the viability of this rate in the Williamsport

vicinage.77

        Finally, I take a moment to discuss Rieders’ final averment: that “[t]here are

no attorneys, that [he] is aware of, who have equaled Mr. Anderson’s achievement

in a civil rights case in the Middle District of Pennsylvania, particularly

Williamsport, or who even have his degree of success in such cases and trial

experience on a regular basis in civil rights cases.”78 While certainly relevant to an

enhancement, this statement provides no evidentiary support to the validity of

Anderson’s rate in the Williamsport vicinage.




76
     Evidence that the rate claimed has been awarded in the vicinage is sufficient to support a fee
     petition. Borrell v. Bloomsburg Univ., 207 F. Supp. 3d 454, 510 (M.D. Pa. 2016) (Caputo, J.).
77
     Doc. 107 (Brief in Support of First Motion for Attorneys’ Fees), Ex. E (Rieders Affidavit) ¶¶
     40-41.
78
     Id. ¶ 49.

                                                20
      Case 4:21-cv-01683-MWB         Document 164      Filed 01/28/25    Page 21 of 73




                           iv.      The Evidentiary Hearing

        Given these concerns, I naturally concluded that an evidentiary hearing should

be held; this hearing was meant to provide Holmes with the opportunity to address

and supplement these deficiencies. In fact, the Scheduling Order for that hearing

clearly articulated this very concern:

               Here, Defendant has not challenged the hourly rates of Plaintiff’s
        attorneys beyond contending that the use of a current hourly rate is
        improper. But the Court has an independent obligation to evaluate
        whether Holmes has met her initial burden regarding the
        reasonableness of her desired hourly rates in the Williamsport vicinage.

              My review has raised questions as to whether the evidence
        submitted is sufficient to establish her prima facie case. Consequently,
        I must hold an evidentiary hearing on the reasonableness of the
        requested hourly rates.79

        Despite providing this guidance and opportunity, Plaintiff declined to submit

any further evidence. Instead, her counsel continued to argue it was inappropriate

for the Court to evaluate whether she had met her initial burden. For the reasons

discussed above, I therefore conclude that Holmes failed to meet her initial burden

as to the hourly rates requested by her attorneys.

                      c.     The Court’s Discretion

        I now must set reasonable hourly rates for Holmes’ attorneys using my

discretion. To do so, two options emerge: rely on the fee schedule set out by the

Community Legal Services in Philadelphia or perform an in-depth review of recent


79
     Doc. 160 (Scheduling Order for December 16, 2024 Evidentiary Hearing).

                                              21
      Case 4:21-cv-01683-MWB           Document 164        Filed 01/28/25      Page 22 of 73




fee petition caselaw in the Middle District of Pennsylvania. Rates set for attorneys

in Philadelphia provide little, if any, guidance as to the market rates in North Central

Pennsylvania. After all, I set aside Ramage’s declaration and the West Virginia

documents for a similar reason. Instead, I performed a review of fee petition cases

in the Middle District of Pennsylvania from the last five years.80

        Between 2019 and 2024, attorneys in this District were regularly awarded

rates from $100 to $375 depending on the skill and experience of the attorney and

the complexity of the case, barring circumstances such as specialized expertise.81

The upper end of this range is $50 above the rates I established in 2014 for the

Williamsport vicinage. I find it now appropriate to increase this range by $50. As

such, the new range of hourly rates in the Williamsport vicinage is $230 to $375 for

experienced attorneys, with associates at a slightly lesser rate. While this seemingly

brings Williamsport in line with the Harrisburg and Scranton/Wilkes-Barre market

rates, it is nonetheless an appropriate range for this vicinage. The upper end of this

range has been in use since at least 2019 elsewhere in the Middle District; at this




80
     As I previously set the appropriate range for attorney’s fees in the Williamsport vicinage, I
     shall focus this review on the Scranton/Wilkes-Barre and Harrisburg divisions. In doing so, I
     remain cognizant of the differences between those locations and Williamsport, in particular the
     size of the cities and their respective legal markets.
81
     E.g., A.B. v. Pleasant Valley Sch. Dist., No. 3:17-CV-02311, 2019 U.S. Dist. LEXIS 108469
     (M.D. Pa. June 28, 2019); Katona v. Asure, No. 1:11-CV-1817, 2019 U.S. Dist. LEXIS 24062
     (M.D. Pa. Feb. 14, 2019); Finnegan v. Smith, No. 3:16-CV-1416, 2019 U.S. Dist. LEXIS
     35114 (M.D. Pa. Mar. 5, 2019) and Beard v. Ocwen Loan Servs., LLC, No. 1:14-CV-01162,
     2024 U.S. Dist. LEXIS 4753 (M.D. Pa. Jan. 9, 2024).

                                                 22
      Case 4:21-cv-01683-MWB          Document 164       Filed 01/28/25     Page 23 of 73




juncture, it is an underrepresentation of the rates in the larger markets in

Scranton/Wilkes-Barre and Harrisburg.

        Looking at the skillsets and backgrounds of the various attorneys, Anderson

has the most specialized knowledge relevant to this case through his employment

law experience. As the lead attorney, he was also primarily responsible for

advancing the case forward. Bordas’ involvement in the mediation likely drew upon

his unique role as chief settlement negotiator for their law firm. Both he and Bordas

are also seasoned attorneys, with 28 years and 24 years of experience respectively.

Although this was a straightforward employment discrimination case, I adjust their

hourly rates downwards to the maximum in this vicinage: $375.

        While Prasick is certainly an experienced attorney with 22 years of

experience, he lacks any specialized knowledge relevant to this case. His practice

has primarily focused on complex products liability work; before that he worked “as

the supervising attorney for the regional office of a large nonprofit public interest

law firm.”82 My review of the work he performed, as documented in the timetables

submitted by Holmes, reveals many simple and straightforward tasks. Consequently,

I adjust his requested hourly rate of $300 downwards to $250.

        Monahan’s 31 years of experience has seemingly allowed him to develop

specialized expertise in appellate work. His time entries demonstrate he drew upon



82
     Doc. 154 (Supplemental Motion for Attorney’s Fees), Ex. D (Prasick Affidavit) ¶¶ 6-7.

                                               23
      Case 4:21-cv-01683-MWB          Document 164        Filed 01/28/25     Page 24 of 73




this expertise in this case during its post-trial stage. But still many of his assigned

tasks involved straightforward issues. Given this, I find it appropriate to adjust his

requested rate downwards from $500 to $300 an hour.

        No documentation has been provided regarding reasonable paralegal fees in

the Williamsport vicinage. Other cases in this district have established a range of

$75 to $170 per hour for paralegals depending on their experience and the

complexity of the work performed.83 Holmes’ requested rate falls slightly outside

this range. At the hearing, Anderson indicated that he could not state with specificity

how much experience Jessica Karadeema has, but the information he provided

suggests she has more than a decade of experience.84 Consequently, I slightly reduce

Karadeema’s hourly rate from $175 to $150. Although the tasks she performed were

relatively simple, I find it appropriate to award her this rate given her level of

experience. As to Donneshia Johnson’s hourly rate, I reduce it from $175 to $115.

This is approximately the midpoint of the range, which is appropriate given the

rather straightforward tasks she performed.85




83
     E.g., A.B. v. Pleasant Valley Sch. Dist., No. 3:17-CV-02311, 2019 U.S. Dist. LEXIS 108469
     (M.D. Pa. June 28, 2019).
84
     Doc. 163 (Evidentiary Hearing Transcript) ¶¶ 22:4-22.
85
     At the hearing, the Court asked Plaintiff’s counsel what level of experience Johnson has. The
     transcript reveals that confusion arose as to whom the Court was inquiring about, as Anderson
     responded with Ramage’s professional background. Id. at 22:1-3. Given this confusion, I am
     guided solely by the nature of the work performed by Johnson. This work involved trial
     assistance and technology preparation. Doc. 107 (Brief in Support of Motion for Attorneys’
     Fees), Ex. A (Billing Records).

                                                24
      Case 4:21-cv-01683-MWB       Document 164      Filed 01/28/25    Page 25 of 73




        Under these rates, Plaintiff has requested $311,223.75 in attorney’s fees.

Applying her desired enhancement brings her requested attorney’s fees up to

$1,556,118.75.

               3.    Reasonable Hours

        Unlike the hourly rates, Plaintiff has met her burden of production regarding

her requested hours by providing detailed timesheets. Defendant has challenged

many aspects of the submitted time entries; I address each of these separately below.

                     a.     Vague Time Entries

        The Third Circuit has directed that “[a]ny hours to be used in calculating

attorneys’ fees … [must] be detailed with sufficient specificity.”86 “In other words,

the fee application must ‘be specific enough to allow the district court to determine

if the hours claimed are unreasonable for the work.’”87

        AHOM draws the Court’s attention to the following entries: 1.7 hours and 5

hours for “Analyze evidentiary issues regarding trial” on July 25, and July 26, 2023;

9 hours for “Prepare for mediation” spread over September 26, September 29, and

October 3, 2023; 4 hours for “Review article from Plaintiff regarding racial lynching

of black women that she thought about due to McCoy and trial preparation” on




86
     Gelis v. BMW of N. Am., LLC, 49 F.4th 371, 379 (3d Cir. 2022) (internal citations and
     quotations omitted).
87
     Id. at 379-380 (quoting Rode, 892 F.2d at 1190).

                                            25
      Case 4:21-cv-01683-MWB           Document 164         Filed 01/28/25     Page 26 of 73




October 5, 2023;88 74 hours89 described as “Trial preparation” spread over March

14, March 15, March 21, March 22, March 28, 2024, April 1, April 2, April 4, April

5, April 6, and April 7, 2024; 11 hours billed for “Technology preparation, trial” on

April 8, 2024 and 18 hours for “Attend trial” on April 9 and April 10, 2024.90

Although the structure of Defendant’s brief suggests that it views vagueness as an

overarching issue, AHOM only specifically challenged 122.7 hours. As such, I limit

my vagueness analysis to the entries identified in Defendant’s papers.

        Defendant is correct that the “fee application must ‘be specific enough to

allow the district court to determine if the hours claimed are unreasonable for the

work performed.’”91 But all of Plaintiff’s records “included the date, a description




88
     I reject Defendant’s argument that this is not billable time simply because Plaintiff thought
     about this article. Holmes testified at trial to how the slur Coon “still carries the same
     connotation. It still carries the same pain … And the word coon is dehumanizing. It’s telling
     me or anybody of a person of color that you’re not an equal human as I am. I have to put these
     labels on you to degrade you.” Doc. 104 (Apr. 9, 2024 Trial Transcript) at 68:23-69:6. She
     further testified about how there is “[s]o much death and blood tied to that [Ku Klux Klan]
     hood, so much death and blood tied to that ‘N’ word. The – the hood, what I understood, KKK
     and how people were savagely treated at one point in time.” Id. at 97:6-9. It was reasonable for
     Anderson to review an article regarding lynchings as it undoubtedly provided insight into the
     emotional turmoil his client was facing.
89
     In Defendant’s brief, it challenges 69.5 hours labeled as “Trial preparation” on these dates.
     However, the Court’s review of the annotated spreadsheet indicates that there are in fact 74
     hours related to “Trial preparation” that are challenged as vague. Presumably the missing entry
     is from April 6, 2024 for 4.5 hours that is labeled as “Trial preparation with Plaintiff and
     Eichelberger.” While this is slightly more detailed than the other entries, I include it here to
     ease my analysis. Doc. 127 (Brief in Opposition to First Motion for Attorneys’ Fees), Ex. 2
     (Annotated Spreadsheet).
90
     Defendant also takes issue with whether this category reflects clerical work. I address that
     separately below.
91
     Gelis, 49 F.4th at 379-380 (quoting Rode, 892 F.2d at 1190).

                                                 26
      Case 4:21-cv-01683-MWB         Document 164       Filed 01/28/25    Page 27 of 73




of the activity, and the time expended.”92 Despite having generic descriptions, I

conclude that the challenged hours are reasonable. Spending 9 hours to prepare for

a mediation and 6.7 hours to analyze evidentiary issues is certainly reasonable. The

4 hours spent on the lynching article is similarly reasonable as it goes to counsel’s

ability to understand and articulate the emotional distress experienced by Holmes.

While 74 hours for trial preparation is borderline excessive in this case, it does not

cross the line from diligence to inordinance. Many tasks go into trial preparation:

voir dire preparation; witness preparation; preparation of the opening argument; and

anticipation of the various arguments and defenses likely to be put forth by one’s

opponent. Similarly, the 29 hours spent by Johnson with “Technology preparation,

trial” and “Attend Trial” are similarly reasonable for these broad tasks.

        The Third Circuit has explained that a fee petition only needs to include “some

fairly definite information as to the hours devoted to various general activities, e.g.

pretrial discovery, settlement negotiations, and the hours spent by various classes of

attorneys ….”93 In fact, courts in this Circuit “have held that simple entries such as

‘research,’ ‘review’ and ‘prepare’ are sufficiently specific, so long as they explain




92
     Brown v. Nutrition Mgmt. Servs. Co., Nos. 08-3840 and 09-1779, 2010 U.S. App. LEXIS 5535,
     at *13 (3d Cir. Mar. 17, 2020).
93
     Gelis, 49 F.4th at 380.

                                              27
      Case 4:21-cv-01683-MWB            Document 164        Filed 01/28/25      Page 28 of 73




who performed those activities and for how long.”94 Consequently, I decline to strike

the identified hours for vagueness.95

                        b.      Clerical Work

        Next, AHOM identifies what it contends is clerical work performed by

Karadeema and Johnson.96 “[P]urely clerical or secretarial tasks should not be billed

at a paralegal rate regardless of who performs them.”97 Clerical tasks include “filing

documents, preparing service packets, and completing or reviewing pro hac vice

paperwork.”98 These types of tasks are “usually absorbed in the attorney’s fee as

overhead … throughout Pennsylvania.”99

        Upon a review of the challenged time entries, I conclude that many are in fact

clerical. As such, I reduce Plaintiff’s requested fee by 48.75 hours for clerical work


94
     A.B. v. Pleasant Valley Sch. Dist., 2019 U.S. Dist. LEXIS 108469, at *8.
95
     The separate challenge to the hours also described as clerical is dealt with below.
96
     Defendant identified time entries that it contends are “clerical” and “likely clerical.” Doc. 127
     (Brief in Opposition to First Motion for Attorneys’ Fees), Ex. 2 (Annotated Spreadsheet).
97
     Missouri v. Jenkins, 491 U.S. 274, 288 n.10, 109 S. Ct. 2463, 105 L. Ed. 2d 229 (1989).
98
     Klein v. Colvin, No. 1:14-CV-1496, 2016 U.S. Dist. LEXIS 88515, at *10 (M.D. Pa. July 8,
     2016). Further examples of clerical tasks include “packaging attachments,” “scanning and
     numbering exhibits,” “File maintenance,” “File management,” “Document management,”
     “coordinating a conference call,” “Created binder of all documents in possession,” “Prepared
     binder for expert,” “Telephone call to [individual] to schedule early neutral evaluation,”
     “Various email correspondence … regarding scheduling of [] mediation,” “opening a file in a
     database,” “entering case updates in a management system,” “mailing letters,” “calendaring
     deadlines,” “confirming contact information,” and “talking with a process server or court
     clerk.” See Elashi v. Sabol, No. 4:09-CV-2201, 2010 U.S. Dist. LEXIS 116443 (M.D. Pa. Nov.
     2, 2010); Clemens v. N.Y. Cent. Mut. Fire Ins. Co., 903 F.3d 396 (3d Cir. 2018); Slantis v.
     Capozzie & Assocs., P.C., No. 1:09-CV-049, 2011 U.S. Dist. LEXIS 67977 (M.D. Pa. June
     24, 2011); and McGuire v. Neidig, No. 14-1531, 2017 U.S. Dist. LEXIS 53488 (W.D. Pa. Apr.
     7, 2017).
99
     Moffitt v. Tunkhannock Area Sch. Dist., No. 3:13-1519, 2017 U.S. Dist. LEXIS 7948, at *19
     (M.D. Pa. Jan. 20, 2017).

                                                  28
      Case 4:21-cv-01683-MWB          Document 164         Filed 01/28/25     Page 29 of 73




performed by Karadeema, billed at a total of $7,312.50. Attached as Appendix A to

this Memorandum Opinion are the time entries that my review has deemed clerical.

They bear a remarkable similarity to entries identified by other courts in this Circuit

as clerical.

       As to remaining entries, my reasoning is as follows. AHOM contends that

time spent by Karadeema on work related to the preparation of subpoenas is

clerical.100 Courts in this Circuit have regularly allowed the recovery of time spent

on subpoenas;101 therefore, I will not strike these hours. In a similar vein, I decline

to excise hours related to the notices of depositions,102 work on Plaintiff’s discovery




100
    These challenged entries are found on the following dates: 0.5 hours on October 25, 2022; 0.8
    hours on October 27, 2022; 1.0 hours on November 9, 2022; 0.4 hours on November 14, 2022;
    1.2 hours on November 16, 2022; 0.2 hours on November 22, 2022; 0.4 hours on November
    30, 2022; two entries for 0.25 and 0.5 hours, respectively, on February 16, 2024; 1.25 hours
    on March 13, 2024; 0.5 hours on March 20, 2024; and 0.25 hours on April 4, 2024. Doc. 107
    (Brief in Support of First Motion for Attorneys’ Fees), Ex. A (Billing Records). Although some
    of these hours may in fact be clerical, it was AHOM’s burden to put forth that argument. With
    no references to caselaw, Defendant has made no effort to aid the Court in its evaluation of the
    hours it has deemed clerical. Consequently, I decline to excise these hours given AHOM’s
    failure to provide any caselaw that would cast doubt on the non-clerical nature of the
    preparation and submission of the subpoenas and general correspondence concerning this task.
    I have only excised hours related to subpoenas where the nature of the task is clearly clerical,
    as identified in the chart in Appendix A.
101
    E.g., Poff v. Prime Care Med., Inc., No. 1:13-CV-03066, 2016 U.S. Dist. LEXIS 77271 (M.D.
    Pa. June 14, 2016).
102
    This consists of the following entries: 0.6 hours on November 1, 2022; and two entries for 0.4
    hours on November 17, 2022. Doc. 107 (Brief in Support of First Motion for Attorneys’ Fees),
    Ex. A (Billing Records).

                                                29
      Case 4:21-cv-01683-MWB         Document 164        Filed 01/28/25     Page 30 of 73




responses,103 mediation preparation,104 and trial preparation.105 These tasks are

comparable to Karadeema’s work on the subpoenas. Finally, AHOM has challenged

time spent updating Holmes on the status of her case.106 I do not find the hours

requested on this task to be excessive, and I decline to conclude that updating a client

on the status of their case is a clerical task.

                      c.     Travel Time and Expenses

       Our Court of Appeals has previously clarified that the recovery of travel time

under § 1988 is limited to local counsel.107 For “counsel from outside of the forum

of the litigation,” the Third Circuit “prohibits” the recovery of “travel expenses”108

unless it can be shown that local counsel would have been unwilling to represent

Holmes. This has not been shown as Holmes has only pointed to a vague statement

from Rieders regarding the attractiveness of civil rights cases in the Middle District

of Pennsylvania.




103
    This category is comprised of the following entries: 0.2 hours on July 21, 2022; 0.8 hours on
    July 22, 2022; 0.4 hours on July 26, 2022; 0.5 hours on July 27, 2022; 1.5 hours on July 28,
    2022; 0.2 hours on August 1, 2022; 1 hour on August 3, 2022; and 0.5 hours on August 4,
    2022. Id.
104
    This consists of a single entry on October 3, 2023 for 0.5 hours. Id.
105
    This consists of 0.5 hours on November 8, 2023; 1 hour on February 13, 2024; two 0.25 entries
    on March 20, 2024; 0.25 hours on March 26, 2024; 11 hours on April 8, 2024; 9 hours on April
    9, 2024; and 9 hours on April 10, 2024. Id.
106
    This category is comprised of the following entries: 0.25 hours on April 26, 2023; 0.25 hours
    on June 19, 2023; 0.25 hours on November 16, 2023; 0.2 hours on January 23, 2024; and 0.5
    hours on February 23, 2024. Id.
107
    United States ex rel. Palmer v. C&D Techs., Inc., 897 F.3d 128, 136 n.8 (3d Cir. 2018).
108
    Id.

                                               30
      Case 4:21-cv-01683-MWB          Document 164       Filed 01/28/25      Page 31 of 73




       Perhaps due to this restriction, Anderson contends that “he does not simply

hail from a legal community other than the Williamsport vicinage”109 because he

“practices primarily in the Western and Middle Districts of Pennsylvania.”110 A

cursory review of Anderson’s professional history undercuts the veracity of this

statement.111 He was admitted to the United States District Court for the Western

District of Pennsylvania in 1997; he was not admitted to the Middle District of

Pennsylvania for another 21 years.112 Further, his practice is centered in the state and

federal courts located in the counties that comprise the Western District of

Pennsylvania.113 Consequently, it is more accurate to state that Anderson “practices

primarily in the Western District of Pennsylvania, with occasional appearances in

the Middle District of Pennsylvania.” Under these circumstances, I conclude that

Anderson is not local counsel, and Plaintiff’s attempt to bill his travel time is

inappropriate.114




109
    Doc. 107 (Brief in Support of First Motion for Attorney’s Fees) at 9.
110
    Id.
111
    See Thomas B. Anderson, Litigation Analytics, Thomson Reuters – WestLaw Edge,
    https://1.next.westlaw.com/Analytics/Profiler?docGUID=I1846081E1DD211B2AD58AC00
    D20223FE&contentType=attorney&view=profile&dataOrchGUID=8c86eccaf23f47bfbc806f
    f01576be8d&transitionType=LegalLitigation&contextData=(sc.Default)#/attorney/I1846081
    E1DD211B2AD58AC00D20223FE/profile (last accessed January 15, 2025).
112
    Id.
113
    Id.
114
    The travel time for the other attorneys and paralegals will similarly be excised from Holmes’
    attorney’s fees. These individuals did not include any averment that they should be considered
    local to the Middle District of Pennsylvania, let alone the Williamsport vicinage.

                                               31
      Case 4:21-cv-01683-MWB          Document 164         Filed 01/28/25     Page 32 of 73




       Even if Plaintiff was correct in her position, she has failed to meet her burden

to prove that “travel time should be compensated at the full rate.”115 She “has not

presented any evidence regarding the customary practice for the billing of travel time

in the local community.”116 Since Defendant challenged both Holmes’ billing of her

attorneys’ travel time and travel expenses, I also address the costs here as the same

analysis applies. Accordingly, I excise 59.4 hours from Holmes’ requested

attorney’s fees.117 Her recoverable amount has been reduced by $20,195.00 in fees

and $4,474.28 in costs, as identified in the tables in Appendix B.

                       d.     Unsuccessful Claims

       “It is true that when ‘a plaintiff has achieved only partial or limited success,’

a district court may reduce a fee award below the lodestar amount.”118 “However,

‘[t]here is no precise rule or formula for making these determinations.’”119 “Indeed,

where, as here, a plaintiff’s successful and unsuccessful claims arise out of a

common core of facts … ‘[m]uch of counsel’s time will be devoted generally to the



115
    United States ex rel. Palmer, 897 F.3d at 136 n.8.
116
    Id. Holmes raised an interesting argument concerning the recovery of travel expenses for the
    mediation as it occurred outside of the forum of the litigation. I disregard this argument given
    the lack of proof pertaining to the customary practice of billing for travel time in the
    Williamsport vicinage of the Middle District of Pennsylvania.
117
    This reduces the recoverable amounts as follows: Anderson’s initial request has been reduced
    to 427.15 hours; Anderson’s supplemental request has been reduced to 101.05 hours; Bordas’
    initial request has been reduced to 23.75 hours; and Johnson’s sole request has been reduced
    to 29 hours.
118
    Damian J. v. Sch. Dist. of Phila., 358 F. App’x 333, 337 (3d Cir. 2009) (quoting Hensley, 461
    U.S. at 436).
119
    Id.

                                                32
      Case 4:21-cv-01683-MWB          Document 164        Filed 01/28/25         Page 33 of 73




litigation as a whole, making it difficult to divide the hours expended on a claim-by-

claim basis.’”120 The Third Circuit has “recognize[d] that a district court may reduce

the lodestar amount ‘even where the plaintiff’s claims were interrelated,

nonfrivolous, and raised in good faith.’”121 But at the same time I retain “discretion

in determining the actual fee[] award” so long as I “appl[y] the correct legal standard

….”122

       Here, Defendant suggests reducing the lodestar amount by ten percent.

AHOM arrives at this figure by estimating that one-fourth of the time spent by

Plaintiff’s counsel occurred before this Court issued its Memorandum Opinion and

Order disposing of Defendant’s Motion for Summary Judgment. However, I do not

find it appropriate to do so. AHOM is correct that I dismissed Holmes’ retaliation

and constructive discharge claims, but Defendant fails to recognize that most of the

facts supporting Plaintiff’s retaliation and constructive discharge claims remained

relevant to her hostile work environment claim. Therefore, I decline to impose a

percentage reduction for time spent on these unsuccessful claims.

                      e.      Post-Trial Motions Prevailing Party

       Related to this argument is AHOM’s contention that Holmes has largely not

prevailed on the post-trial motions filed by the parties. While there is certainly



120
    Id. (quoting Hensley, 461 U.S. at 435).
121
    Id. (quoting Hensley, 461 U.S. at 436).
122
    Id. (citing Abrams v. Lightolier Inc., 50 F.3d 1204, 1222 (3d Cir. 1995)).

                                                33
      Case 4:21-cv-01683-MWB          Document 164        Filed 01/28/25      Page 34 of 73




precedential support for removing time related to independent claims, it is unclear

whether this logic extends to individual motions. But, from the Court’s perspective,

Holmes has largely prevailed on the critical motion filed by AHOM. I declined to

overturn the jury’s finding of liability, the amount of compensatory damages, and

the imposition of punitive damages. As the research supporting the preservation of

any award of punitive damages naturally overlapped with the size of that award, I

do not find it appropriate to deem the time spent researching this issue irrelevant.

Therefore, I remove the time I definitively related to the isolated issues Holmes has

not prevailed on: the fee enhancement; the demonstrative slides; and the time spent

on appellate work.123 Unlike many of the other post-trial motions, these aspects

contained no overlap with areas that Holmes prevailed on. These tasks accounted for

36.44 hours as identified in the table in Appendix C.124

                      f.      Excessive Hours in the Supplemental Motion

       The Court similarly finds that AHOM’s contention that the hours spent on the

post-trial filings are excessive has some merit. Defendant is correct that “[t]he

suggestion that post-judgment filings would reasonably require nearly 75% of the

time required from the filing of the case through trial is dubious.”125 Many of the

123
    It is premature to award Holmes fees for any appellate work as she has not yet prevailed at the
    Third Circuit.
124
    This reduces the recoverable amount of hours in the Supplemental Motion for Attorney’s Fees
    as follows: Anderson’s request has been reduced to 92.75 hours; Monahan’s request has been
    reduced to 169.135 hours; Prasick’s request has been reduced to 36.925 hours; and Bordas’
    request has been reduced to 5 hours.
125
    Doc. 156 (Brief in Opposition to Supplemental Motion for Attorney’s Fees) at 5-6.

                                                34
      Case 4:21-cv-01683-MWB         Document 164        Filed 01/28/25     Page 35 of 73




post-trial motions were not complex. Even in the most complicated motion, the

Court found it appropriate to only hold oral argument on two discrete issues. The

remaining aspects of that motion did not pose novel questions. I therefore find it

appropriate to impose a 10% reduction to each individual’s requested hours in the

Supplemental Motion for Attorney’s Fees. This reduces the total amount of

compensable hours in the Supplemental Motion for Attorneys’ Fees to 273.609

hours.126

                      g.     Quarter- and Half-Hour Billing

       Defendant next argues that Plaintiff’s fees should be reduced by five percent

due to her counsel’s apparent use of quarter hour and half hour increments for billing.

Defendant acknowledges that there is “no prohibition on quarter hour billing in our

Circuit.”127 Although the practice is not banned, it clearly inflates fees. AHOM has

identified patterns that raise serious questions concerning the billing practices of the

attorneys and paralegals in this case.128 The Court sets aside the potential issues

concerning Monahan’s and Prasick’s billing as they both averred to follow a tenth-

hour billing system.129 Despite being suspect, I do not find the issues sufficient to


126
    The recoverable amounts for each individual are as follows after applying this 10% reduction:
    83.475 hours for Anderson; 4.5 hours for Bordas; 152.2215 hours for Monahan; 33.2325 hours
    for Prasick; and 0.18 hours for Karadeema.
127
    Rougvie v. Ascena Retail Grp., Inc., No. 15-724, 2016 WL 4784121, at *10 (E.D. Pa. Sept. 12,
    2016).
128
    Doc. 127 (Brief in Opposition to First Motion for Attorney’s Fees) at 7-8; Doc. 156 (Brief in
    Opposition to Supplemental Motion for Attorney’s Fees) at 6-8.
129
    Doc. 154 (Supplemental Motion for Attorney’s Fees), Ex. C (Monahan Affidavit) ¶ 14 and Ex.
    D (Prasick Affidavit) ¶ 11.

                                               35
      Case 4:21-cv-01683-MWB        Document 164        Filed 01/28/25    Page 36 of 73




overcome the sworn statements made by both attorneys concerning their billing

practices. While they indicate that this is the standard billing practice at Bordas &

Bordas, Anderson’s and Bordas’ affidavits are conspicuously silent on this issue.130

Given the patterns identified by Defendant, I find it appropriate to reduce the hours

requested by Anderson and Bordas by 5% in both the First Motion for Attorneys’

Fees and Supplemental Motion for Attorneys’ Fees. Anderson is now requesting a

total of 485.09375 hours while Bordas is now requesting a total of 26.8375 hours.131

In reaching this decision, I decline to extend a similar reduction to Karadeema given

that the Court has already excised many of the suspect time entries identified by

Defendant.

              4.     Calculation of the Lodestar

       As I have now resolved all of the challenges to Plaintiff’s hours, I am able to

calculate the lodestar. To do so, I multiple the appropriate hourly rates for each

attorney and paralegal by the number of hours that remain, as displayed in the table

below. This leads to a total award of $252,906.30 in attorney’s fees.




130
    The absence of any sworn statements on this topic from Anderson and Bordas in the
    Supplemental Motion is also noteworthy.
131
    For Anderson, the breakdown is 405.7925 hours in the First Motion and 79.30125 hours in the
    Supplemental Motion. Bordas has a breakdown of 22.5625 hours in the First Motion and 4.275
    hours in the Supplemental Motion.

                                              36
       Case 4:21-cv-01683-MWB         Document 164       Filed 01/28/25     Page 37 of 73




                                 The Lodestar Calculation

 Timekeeper               Hourly Rate             Hours                   Amount of Fees132
 Anderson                 $375                    485.09375               $181,910.16
 Bordas                   $375                    26.8375                 $10,064.06
 Monahan                  $300                    152.2215                $45,666.45
 Prasick                  $250                    33.2325                 $8,308.13
 Johnson                  $115                    29                      $3,335.00
 Karadeema                $150                    24.15                   $3,622.50

         E.     Enhancement of the Lodestar

         Finally, I turn to Holmes’ requested enhancement. Even with the reduced

award this Court is prepared to provide her, this requested enhancement would result

in $1,264,531.50 fees. In spite of her best efforts to argue otherwise, this case does

not present the “rare” or “exceptional” circumstances that justify any enhancement,

let alone one of this magnitude.

         There is “a ‘strong presumption’ that the lodestar represents the ‘reasonable’

fee” for Plaintiff’s counsel.133 The Third Circuit has summarized the main

circumstances identified by the United States Supreme Court when an upward

adjustment of the lodestar calculation may be appropriate:

         These circumstances include: (1) “where the method used in
         determining the hourly rate employed in the lodestar calculation does
         not adequately measure the attorney’s true market value”; (2) “if the
         attorney’s performance includes an extraordinary outlay of expenses
         and the litigation is exceptionally protracted”; or (3) where there was




132
      The Amount of Fees is rounded up to the nearest cent.
133
      Dungee v. Davison Design & Dev., Inc., 674 F. App’x 153, 156 (3d Cir. 2017).

                                               37
      Case 4:21-cv-01683-MWB         Document 164       Filed 01/28/25     Page 38 of 73




       an “exceptional delay in the payment of fees … particularly where the
       delay is unjustifiably caused by the defense.”134

       When “presented with a ‘rare’ and ‘exceptional’ case, a district court must

tailor the method of enhancing the lodestar to that specific case.”135 “For instance, if

an attorney’s hourly rate is ‘determined by a formula that takes into account only a

single factor (such as years since admission to the bar),’ the district court may adjust

the hourly rate ‘in accordance with specific proof linking the attorney’s ability to a

prevailing market rate.’136

       “The party requesting an enhancement to the lodestar carries the burden to

show that a multiplier is necessary to reach a fair and reasonable fee award.”137 “That

party must produce ‘specific evidence on the record’ supporting the

enhancement.”138 “Further, to ensure that the calculation ‘is objective and capable of

being reviewed on appeal,’ a district court must provide detailed findings justifying

any enhancement to the lodestar.”139

       Here, Holmes has failed to carry her burden. She has argued that the lodestar

fails to capture her attorneys’ true market value. First, her argument focuses

exclusively on Anderson’s performance, yet she applies her enhancement to the



134
    Id. at 156-57 (quoting Perdue, 559 U.S. at 554-56).
135
    Id. at 157.
136
    Id. (quoting Perdue, 559 U.S. at 555).
137
    Id. (citing Perdue, 559 U.S. at 553).
138
    Id. (quoting Pennsylvania v. Del. Valley Citizens’ Council for Clean Air, 478 U.S. 546, 565,
    106 S. Ct. 3088, 92 L. Ed. 2d 439 (1986)).
139
    Id. (quoting Perdue, 559 U.S. at 553, 557-59).

                                              38
    Case 4:21-cv-01683-MWB          Document 164   Filed 01/28/25   Page 39 of 73




entirety of the lodestar figure. More importantly, I conclude that Holmes has failed

to put forth sufficient evidence that would allow the Court to grant this enhancement.

      The only evidence in the record that Holmes identified is the Rieders affidavit.

In relevant part, Rieders states:

             Lawyers who handle primarily contingent fee cases face the
      inevitable fact that they will win cases, settle cases, and lose cases. In
      North Central Pennsylvania, unless the attorney can balance out losses
      or negative results with very good results, it would be impossible to
      handle contingent fee cases at all in the Middle District [of
      Pennsylvania].

             Significant costs must be laid out in contingency fee cases.

           The overheard costs of operating a contingent fee practice in the
      Wilkes-Barre, Harrisburg, and Williamsport areas are quite significant.

            A verdict in federal court, Middle District of Pennsylvania, and
      the amount set forth, and based on the facts related by the Court in its
      Memorandum Opinion of July 3, 2023, is a notable accomplishment.

            While the undersigned does not know Attorney Anderson
      personally, the undersigned was impressed with Attorney Anderson’s
      presentation, the results he obtained, and the information imparted by
      him concerning the nature of his practice and other results.

             The rate charged by Mr. Anderson, who presents himself as a
      fine, accomplished, and responsible attorney, is extremely reasonable.

             The lawyers in the Middle District of Pennsylvania are reluctant
      to take civil rights cases at all because of the population in the veneer
      and the exacting requirements of federal court.

             The billing of $600.00 per hour for someone of Mr. Anderson’s
      obvious ability and the results in this case seems modest, given the costs
      associated with practicing law in the current environment, the
      challenges of public opinion, and the conservativeness of the
      jurisdiction.

                                           39
      Case 4:21-cv-01683-MWB         Document 164       Filed 01/28/25     Page 40 of 73




             There are no attorneys, that the undersigned is aware of, who
       have equaled Mr. Anderson’s achievement in a civil rights case in the
       Middle District of Pennsylvania, particularly Williamsport, or who
       even have his degree of success in such cases and trial experience on a
       regular basis in civil rights cases.140

       Much of this affidavit fails to provide any evidence at all regarding the

inadequacy of the lodestar. The first three paragraphs of the quoted sections concern

the logistics of operating on a contingency fee basis in the Middle District of

Pennsylvania. The Supreme Court has indicated that a contingency enhancement

“would likely duplicate in substantial part factors already subsumed in the lodestar”

method.141 It is therefore inappropriate to accept this argument in support of an

enhancement.

       Next, the Court considers Rieders’ statements concerning the rate sought by

Anderson. Rieders first describes Anderson’s desired rate as “extremely reasonable”

and then notes that it is “modest” “given the costs associated with practicing law in

the current environment, the challenges of public opinion, and the conservativeness

of the jurisdiction.”142 Although the Court reduced Anderson’s hourly rate to an

amount in line with that charged by attorneys in the Williamsport vicinage, I have

already concluded that this is an appropriate rate given his qualifications, specialized




140
    Doc. 107 (Brief in Support of First Motion for Attorney’s Fees), Ex. E (Rieders Affidavit).
141
    City of Burlington v. Dague, 505 U.S. 557, 562, 112 S. Ct. 2638, 120 L. Ed. 2d 449 (1992).
142
    Doc. 107 (Brief in Support of First Motion for Attorney’s Fees), Ex. E (Rieders Affidavit) ¶
    42.

                                              40
      Case 4:21-cv-01683-MWB      Document 164     Filed 01/28/25   Page 41 of 73




expertise, and the uncomplicated nature of this case. Rieders’ observations do not

move the needle on this analysis.

        Finally, I consider the results Anderson achieved at trial. Rieders describes

the outcome of this case as “a notable accomplishment” and notes that he was

“impressed” with Anderson’s “presentation,” the “results he obtained,” and other

information concerning his practice.143 Further, Rieders asserts that “[t]here are no

attorneys, that [he] is aware of, who have equaled Mr. Anderson’s achievement in a

civil rights case in the Middle District of Pennsylvania, particularly Williamsport, or

who even have his degree of success … on a regular basis in civil rights cases.”144

        These observations appear to be premised, at least in part, on the assumption

that “lawyers in the Middle District of Pennsylvania are reluctant to take civil rights

cases at all because of the population in the veneer and the exacting requirements of

federal court.”145 As civil rights cases regularly appear on my docket and the docket

of my colleagues in this Court, I set aside this observation.

        Rieders’ discussion of the result Anderson achieved in this case is also

unpersuasive. The finding of liability in this case was not an unexpected outcome,

except perhaps to AHOM; as the Court has already explained at length elsewhere, a

jury easily could conclude that AHOM committed clear wrongdoing and fumbled



143
    Id. ¶ 34.
144
    Id. ¶ 39.
145
    Id. ¶ 38.

                                          41
      Case 4:21-cv-01683-MWB           Document 164         Filed 01/28/25      Page 42 of 73




its response to Holmes’ complaints. Under these circumstances, achieving a verdict

in Plaintiff’s favor was the extremely likely outcome. While the size of the verdict

was large, that alone is not a reason to enhance Plaintiff’s fees, especially once the

award the Court deemed constitutionally reasonable is considered.

       Even if the Court were to expand its analysis to include the twelve factors

identified by the United States Court of Appeals for the Fifth Circuit in Johnson v.

Georgia,146 the outcome would remain unchanged. Many of these factors have

already been adequately accounted for in the lodestar;147 as to the nearly all of

remaining factors, Holmes has provided no evidence that would allow the Court to

evaluate them.148

       As I have presided over this case for its entire duration, I am intimately

familiar with the performance of all counsel. This prompts me to simply observe that

I find it much more probable that the result in this case came down to “inferior


146
    These factors were identified in Hensley. They are: “(1) the time and labor required; (2) the
    novelty and difficulty of the questions; (3) the skill requisite to perform the legal service
    properly; (4) the preclusion of employment by the attorney due to acceptance of the case; (5)
    the customary fee; (6) whether the fee is fixed or contingent; (7) time limitations imposed by
    the client or the circumstances; (8) the amount involved and the results obtained; (9) the
    experience, reputation, and ability of the attorneys; (10); the “undesirability” of the case; (11)
    the nature and length of the professional relationship with the client; and (12) awards in similar
    cases.” Hensley, 461 U.S. at 430 n.3.
147
    My review concludes that the first, second, third, fifth, sixth, eighth, and ninth factors were
    already accounted for, either directly or indirectly, by the Court when calculating the lodestar.
    Id.
148
    Plaintiff provided no information concerning the fourth, seventh, tenth, eleventh, or twelfth
    factors in this fee petition. Id. I do not consider Rieders’ assessment of the “reluctan[c]e” of
    attorneys “to take civil rights cases” in this District to be persuasive given the frequency with
    which these cases are brought before this Court. Doc. 107 (Brief in Support of First Motion for
    Attorney’s Fees), Ex. E (Rieders Affidavit) ¶ 38.

                                                 42
      Case 4:21-cv-01683-MWB         Document 164        Filed 01/28/25   Page 43 of 73




performance by defense counsel, … an unexpectedly sympathetic jury, or simple

luck” rather than such a superior performance by Plaintiff’s counsel that the lodestar

is an inaccurate measure of their true market value.149

       F.     Requested Costs

       As I have calculated the lodestar, I now turn to Plaintiff’s requested costs.

AHOM has only attacked Holmes’ request for travel costs, an issue resolved above,

and her legal research costs. But our Court of Appeals has indicated that “the same

standards apply to [my] review of costs as to [my] review of attorneys’ fees.”150

Accordingly, I must review Plaintiff’s submissions to ensure that she has met her

initial burden of production. Unlike her submitted time entries, all the Court has been

provided is a series of expense reports that merely list the date, description, and price

of each cost. The Third Circuit has reversed a district court that approved a prevailing

party’s costs based solely on a “one-page statement [that] contain[ed] dates and

descriptions, but [did] not include supporting data explaining the relevant purpose

of the expenditures.”151 The Court is faced with essentially an identical situation

here. Under these circumstances, I conclude that Holmes has failed to meet her initial

burden of production as she has “failed to provide the District Court with any

reasonable basis justifying the expenditures in this case.”152


149
    Perdue, 559 U.S. at 554.
150
    Loughner v. Univ. of Pittsburgh, 260 F.3d 173, 181 (3d Cir. 2001).
151
    Id.
152
    Id.

                                               43
      Case 4:21-cv-01683-MWB        Document 164       Filed 01/28/25     Page 44 of 73




       But that is not the end of my analysis. District courts in this Circuit have

compared the dates and descriptions from the expense reports to the submitted time

entries to ascertain whether the submitted costs are reasonable.153 Despite the

incredibly tedious nature of this task, I will do so now.

              1.     Legal Research Costs

       As AHOM has challenged Holmes’ ability to recover any legal research costs,

I must first discern whether they are recoverable at all. In its Brief in Opposition to

the Supplemental Motion for Attorneys’ Fees, AHOM correctly notes that courts

have declined to award legal research costs under 28 U.S.C. § 1920. In making this

argument, Defendant fails to consider whether these expenses can be awarded under

42 U.S.C. § 1988. This silence seems peculiar given that one of the Defendant’s

cases specifically acknowledged “civil rights legislation … encompasses a broader

concept of expenses than the enumerated costs allowed under § 1920.”154 As some

courts in this Circuit have deemed legal research costs recoverable under § 1988, I

conclude that it is proper to award Holmes these expenses should they prove to be

properly documented after a comparison to the submitted time entries.155 This review

has indicated that some of these research costs cannot be aligned with the time spent


153
    E.g., United States ex rel. Ibew Local Union No. 98v. The Fairfield Co., No. 09-4230, 2020
    U.S. Dist. LEXIS 63169 (E.D. Pa. Apr. 10, 2020).
154
    Nugget Distrib. Coop. v. Mr. Nugget, 145 F.R.D. 54, 58 (E.D. Pa. 1992).
155
    Courts in this Circuit have awarded legal research expenses to attorneys under 42 U.S.C. §
    1988. E.g., Stadler v. Abrams, No. 13-2741, 2018 U.S. Dist. LEXIS 126499 (D.N.J. July 27,
    2018).

                                             44
       Case 4:21-cv-01683-MWB           Document 164         Filed 01/28/25     Page 45 of 73




by her attorneys to determine their reasonableness.156 Consequently, I remove the

costs contained in Appendix D from Holmes’ petition.

         The remaining research costs appear to have been a monthly legal research

bill from Westlaw. This allowed me to connect the appropriate hours spent by

Holmes’ attorneys to the associated legal research costs, as identified in Appendix

E.

                 2.      All Other Costs

         Since I have an independent obligation to ensure that Plaintiff has met her

burden of production, I do so regarding the remaining costs she has requested despite

AHOM’s failure to challenge these expenses. Again, all that Holmes provided to the

Court in support of these costs were various expense reports. I completed the

unenviable task of matching the costs to the appropriate time entries, as presented in

Appendix F.

         The only costs I was unable to match to any time entries were photocopying

charges requested by Holmes and $33.95 in postal services incurred on April 30,

2024. While these photocopying costs would also be recoverable under § 1920, I

would have to conclude that “the copies are necessarily obtained for use in the case.”




156
      Holmes incurred online research expenses on a seemingly random basis that make it impossible
      for the Court to discern which, if any, of her time entries are connected to the expenses in her
      Supplemental Motion.

                                                  45
       Case 4:21-cv-01683-MWB            Document 164        Filed 01/28/25      Page 46 of 73




Plaintiff has provided no information that would allow me to do so.157 Therefore, I

decline to award her the requested reimbursement for her photocopies and scans.

Instead, I will award Holmes $9,074.16 in total for her costs in this case, as reflected

in Appendices E and F.

II.      CONCLUSION

         The Court has finally determined the reasonable attorneys’ fees and costs

Holmes is entitled to recover under 42 U.S.C. § 1988. This amount is adequately

supported by the record provided to the Court and represents a reasonable fee

given the complexity of the case, the experience of the attorneys, and the services

provided.

         An appropriate Order follows.



                                                        BY THE COURT:


                                                        s/ Matthew W. Brann
                                                        Matthew W. Brann
                                                        Chief United States District Judge




157
      I have no way to discern how many pages were copied and scanned. Thus, I have no ability to
      discern the per page cost to determine if it is reasonable. Nor can I evaluate whether the amount
      of copying performed was necessary.

                                                   46
       Case 4:21-cv-01683-MWB   Document 164   Filed 01/28/25   Page 47 of 73




                      Appendix A: Excised Clerical Hours


Date          Timekeeper Hours Description         Clerical         Rate        Amount
                                                   Reason
07/29/2022 Karadeema 1.1         Bates Stamping Analogous to        $150.00 $165.00
                                 documents for     document
                                 First Set of      management
                                 Interrogatories and exhibit
                                 and Request for preparation
                                 Production
10/12/2022 Karadeema 0.4         Correspondence Scheduling          $150.00 $60.00
                                 with counsel
                                 regarding
                                 scheduling of
                                 depositions
10/13/2022 Karadeema 0.5         Correspondence Analogous to        $150.00 $75.00
                                 with counsel      filing
                                 and defendant’s documents and
                                 counsel           scheduling
                                 regarding filing correspondence
                                 extension to
                                 extend
                                 discovery
10/14/2022 Karadeema 0.7         Correspondence Scheduling          $150.00 $105.00
                                 with counsel
                                 regarding
                                 scheduling of
                                 depositions (.2),
                                 extending
                                 discovery
                                 deadlines (.3),
                                 correspondence
                                 with Holmes
                                 regarding
                                 scheduling
                                 deposition (.2)
10/17/2022 Karadeema 0.2         Correspondence Analogous to        $150.00 $30.00
                                 with opposing     filing
                                 counsel           documents and


                                       47
       Case 4:21-cv-01683-MWB   Document 164   Filed 01/28/25    Page 48 of 73




Date          Timekeeper Hours Description          Clerical       Rate          Amount
                                                    Reason
                                 regarding filing   scheduling
                                 of discovery       correspondence
                                 extension
10/21/2022 Karadeema 0.4         Analyze issues     Scheduling       $150.00 $60.00
                                 regarding
                                 change re
                                 scheduled
                                 depositions and
                                 related matters
10/21/2022 Karadeema 0.5         Analyze            Scheduling       $150.00 $75.00
                                 matters
                                 regarding
                                 scheduling
                                 depositions of
                                 additional
                                 witnesses and
                                 communication
                                 with
                                 defendant’s
                                 counsel re same
10/24/2022 Karadeema 0.4         Correspondence     Scheduling       $150.00 $60.00
                                 with Holmes
                                 and counsel
                                 regarding
                                 scheduling
                                 depositions
10/25/2022 Karadeema 0.4         Correspondence     Scheduling       $150.00 $60.00
                                 with opposing
                                 counsel
                                 regarding
                                 scheduling of
                                 depositions,
                                 locations of
                                 depositions,
                                 contact
                                 information for
                                 deposition


                                       48
       Case 4:21-cv-01683-MWB   Document 164   Filed 01/28/25    Page 49 of 73




Date          Timekeeper Hours Description          Clerical         Rate        Amount
                                                    Reason
10/25/2022 Karadeema 0.4         Analyze issues     Scheduling       $150.00 $60.00
                                 regarding
                                 scheduling
                                 depositions of
                                 Beverly
                                 Hibbert,
                                 Tammy
                                 Dunmire, Haley
                                 Furros, Ron
                                 Houtz, Tim
                                 McCoy, Ms.
                                 Dodson, and
                                 Mr. Cattone
10/26/2022 Karadeema 0.4         Correspondence     Scheduling       $150.00 $60.00
                                 with
                                 defendant’s
                                 counsel re:
                                 scheduling
                                 depositions
10/27/2022 Karadeema 0.2         Correspondence     Scheduling       $150.00 $30.00
                                 with
                                 defendant’s
                                 counsel
                                 regarding
                                 scheduling
                                 depositions (.2)
10/28/2022 Karadeema 0.5         Correspondence     Scheduling       $150.00 $75.00
                                 with former
                                 employees
                                 regarding
                                 depositions
10/28/2022 Karadeema 0.4         Correspondence     Scheduling       $150.00 $60.00
                                 with
                                 defendant’s
                                 counsel
                                 regarding
                                 scheduling
                                 depositions and

                                       49
       Case 4:21-cv-01683-MWB   Document 164   Filed 01/28/25   Page 50 of 73




Date          Timekeeper Hours Description         Clerical         Rate        Amount
                                                   Reason
                                 contact
                                 information for
                                 previous
                                 employees
10/31/2022 Karadeema 0.5         Identify and      Analogous to     $150.00 $75.00
                                 secure lodging    scheduling and
                                 for plaintiff’s   related
                                 counsel re        logistics
                                 depositions
10/31/2022 Karadeema 0.4         Correspondence    Scheduling       $150.00 $60.00
                                 with Beverly
                                 Hibbert,
                                 Tammy
                                 Dunmire, Haley
                                 Furros
                                 regarding
                                 taking
                                 depositions
10/31/2022 Karadeema 0.5         Correspondence    Scheduling and $150.00 $75.00
                                 with Hyatt and    related
                                 Centre County     logistics
                                 Bar Association
                                 regarding
                                 reserving
                                 conference
                                 room
10/31/2022 Karadeema 0.7         Correspondence    Scheduling and $150.00 $105.00
                                 with Attorney     related
                                 Anderson and      logistics
                                 defendant’s
                                 counsel and
                                 Holmes
                                 regarding
                                 Notices of
                                 Deposition,
                                 reserving
                                 conference
                                 room

                                       50
       Case 4:21-cv-01683-MWB   Document 164   Filed 01/28/25   Page 51 of 73




Date          Timekeeper Hours Description         Clerical         Rate        Amount
                                                   Reason
11/01/2022 Karadeema 0.4         Correspondence Scheduling          $150.00 $60.00
                                 with Hal[e]y
                                 Furrow and
                                 counsel
                                 regarding
                                 scheduling
                                 deposition for
                                 evening hours
11/01/2022 Karadeema 0.5         Correspondence Scheduling and      $150.00 $75.00
                                 with              related
                                 defendant’s       logistics
                                 counsel
                                 regarding
                                 notices of
                                 deposition,
                                 room contract
11/01/2022 Karadeema 0.2         Correspondence Analogous to        $150.00 $30.00
                                 with Plaintiff    scheduling,
                                 regarding         related
                                 verifying         logistics, and
                                 receipt of notice file and
                                 of deposition     document
                                                   management
11/02/2022 Karadeema 0.4         Compile and       Analogous to     $150.00 $60.00
                                 deliver to        packaging
                                 Holmes            attachments
                                 materials for     and preparing
                                 review in         exhibits
                                 preparation for
                                 deposition
11/02/2022 Karadeema 0.4         Correspondence Scheduling and      $150.00 $60.00
                                 with              related
                                 defendant’s       logistics
                                 counsel re:
                                 plaintiff’s half
                                 of fee for
                                 conference


                                       51
       Case 4:21-cv-01683-MWB   Document 164   Filed 01/28/25   Page 52 of 73




Date          Timekeeper Hours Description         Clerical         Rate        Amount
                                                   Reason
                                 room and
                                 related matters
11/02/2022 Karadeema 0.5         Correspondence    Scheduling       $150.00 $75.00
                                 with Holmes re:
                                 scheduled day
                                 for deposition,
                                 scheduling
                                 deposition
                                 preparation
                                 with attorney
                                 Anderson
11/03/2022 Karadeema 0.5         Correspondence    Analogous to    $150.00 $75.00
                                 with Golkow       communication
                                 Litigation        with a process
                                 Services          server or court
                                 regarding         clerk
                                 scheduling
                                 reporter of
                                 depositions
11/03/2022 Karadeema 0.4         Review and        Analogous to     $150.00 $60.00
                                 process           document
                                 correspondence    management
                                 with
                                 defendant’s
                                 counsel
                                 regarding
                                 discovery
                                 documents
11/04/2022 Karadeema 0.4         Upload and        Analogous to     $150.00 $60.00
                                 save documents    document
                                 provided by       management
                                 defendant’s
                                 counsel
11/04/2022 Karadeema 0.4         Correspondence    Analogous to    $150.00 $60.00
                                 with Golkow       communication
                                 Litigation        with process
                                 Services          server or court
                                 regarding         clerk

                                       52
       Case 4:21-cv-01683-MWB   Document 164   Filed 01/28/25     Page 53 of 73




Date          Timekeeper Hours Description          Clerical          Rate        Amount
                                                    Reason
                                 scheduling
                                 reporter for
                                 depositions
11/07/2022 Karadeema 0.2         Correspondence     Analogous to    $150.00 $30.00
                                 with court         communication
                                 reporter           with process
                                 regarding verify   server or court
                                 use of their       clerk
                                 services for
                                 depositions
11/07/2022 Karadeema 0.5         Prepare travel     Scheduling and $150.00 $75.00
                                 arrangement for    related
                                 Attorney           logistics
                                 Anderson for
                                 depositions in
                                 State College
11/09/2022 Karadeema 0.4         Correspondence     Scheduling        $150.00 $60.00
                                 with J&M
                                 Reporting re
                                 scheduling
                                 reporter for
                                 deposition for
                                 November 14
11/09/2022 Karadeema 0.5         Research re        Confirming        $150.00 $75.00
                                 additional         contact
                                 contact            information
                                 information for
                                 Beverly Hibbert
                                 and Tammy
                                 Dunmire [0.50]
11/09/2022 Karadeema 0.4         Correspondence     Scheduling        $150.00 $60.00
                                 with Haley
                                 Furrow
                                 regarding date
                                 and time of
                                 deposition
11/09/2022 Karadeema 0.4         Communication      Scheduling        $150.00 $60.00
                                 with counsel

                                       53
       Case 4:21-cv-01683-MWB   Document 164   Filed 01/28/25   Page 54 of 73




Date          Timekeeper Hours Description         Clerical         Rate        Amount
                                                   Reason
                                 regarding
                                 scheduling
                                 deposition of
                                 Haley Furrow
                                 and related
                                 matters
11/11/2022 Karadeema 0.4         Correspondence    Scheduling       $150.00 $60.00
                                 with J&M
                                 Reporting
                                 regarding
                                 scheduled zoom
                                 deposition for
                                 November 14,
                                 2022
11/14/2022 Karadeema 0.4         Correspondence    Scheduling       $150.00 $60.00
                                 with defendants
                                 regarding
                                 scheduling
                                 depositions for
                                 Mark Cattron
                                 and Lois
                                 Dodson and
                                 related matters
11/14/2022 Karadeema 0.4         Correspondence    Scheduling and $150.00 $60.00
                                 with              related
                                 defendant’s       logistics
                                 counsel and
                                 Haley
                                 Eichelberger
                                 regarding Zoom
                                 link for
                                 deposition and
                                 exhibits
11/21/2022 Karadeema 0.4         Process and       Analogous to     $150.00 $60.00
                                 save deposition   document
                                 transcripts and   management
                                 documents for
                                 Timothy

                                       54
       Case 4:21-cv-01683-MWB   Document 164   Filed 01/28/25    Page 55 of 73




Date          Timekeeper Hours Description          Clerical         Rate        Amount
                                                    Reason
                                 McCoy and
                                 Ronald Houtz
11/23/2022 Karadeema 0.4         Making             Scheduling and $150.00 $60.00
                                 arrangements       related
                                 with Hyatt State   logistics
                                 College
                                 regarding room
                                 for depositions
11/28/2022 Karadeema 0.4         Correspondence     Scheduling       $150.00 $60.00
                                 with
                                 defendant’s
                                 counsel
                                 regarding
                                 scheduling
                                 depositions
11/28/2022 Karadeema 0.4         Review and         Analogous to     $150.00 $60.00
                                 save deposition    document
                                 transcripts for    management
                                 Haley
                                 Eichelberger
11/29/2022 Karadeema 0.2         Correspondence     Scheduling       $150.00 $30.00
                                 with J&M
                                 Court
                                 Reporting re
                                 scheduling
                                 reporter for
                                 depositions
11/29/2022 Karadeema 0.2         Process invoice    Analogous to     $150.00 $30.00
                                 Johnson and        document
                                 Mimless for        management
                                 deposition of
                                 Haley
                                 Eichelberger
11/29/2022 Karadeema 0.4         Reserving hotel    Scheduling and $150.00 $60.00
                                 room for           related
                                 depositions on     logistics
                                 December 5 &
                                 6

                                       55
       Case 4:21-cv-01683-MWB   Document 164   Filed 01/28/25   Page 56 of 73




Date          Timekeeper Hours Description       Clerical        Rate           Amount
                                                 Reason
11/30/2022 Karadeema 0.4         Analyze issues Analogous to     $150.00        $60.00
                                 re confirming   scheduling,
                                 receipt of      related
                                 subpoena by     logistics, and
                                 Beverly Hibbert file and
                                                 document
                                                 management
11/30/2022 Karadeema 0.4         Prepare check   Scheduling and $150.00         $60.00
                                 request for     related
                                 travel to State logistics
                                 College for
                                 depositions
12/02/2022 Karadeema 0.2         Correspondence Scheduling and $150.00          $30.00
                                 with J&M re     related
                                 Zoom link for   logistics
                                 depositions
12/06/2022 Karadeema 0.5         Correspondence Scheduling and $150.00          $75.00
                                 with Beverly    related
                                 Hibbert         logistics
                                 regarding
                                 receipt of
                                 subpoena,
                                 scheduling
                                 deposition, and
                                 no longer
                                 needing
                                 deposition
12/12/2022 Karadeema 0.2         Review and      Analogous to    $150.00        $30.00
                                 save AHOM’s document
                                 Amended Rule management
                                 26 Disclosures
12/14/2022 Karadeema 0.4         Correspondence Analogous to     $150.00        $60.00
                                 with court      correspondence
                                 reporter and    with process
                                 related matters server or court
                                 regarding       clerk
                                 exhibit from


                                       56
       Case 4:21-cv-01683-MWB   Document 164   Filed 01/28/25   Page 57 of 73




Date          Timekeeper Hours Description         Clerical         Rate        Amount
                                                   Reason
                                 Mark Cattron
                                 deposition
12/19/2022 Karadeema 0.4         Review and        Analogous to     $150.00 $60.00
                                 process           document
                                 deposition        management
                                 transcripts for
                                 Lois Dodson
                                 and Mark
                                 Cattron and
                                 invoice from
                                 J&M
01/03/2023 Karadeema 0.2         Reviewed and      Analogous to     $150.00 $30.00
                                 process Errata    document
                                 pages for         management
                                 deponents Mark
                                 Cattron and
                                 Lois Dodson
02/03/2023 Karadeema 0.4         Review and        Analogous to     $150.00 $60.00
                                 save invoices     document and
                                 from Golkow       file
                                 Litigation        management
                                 Services, check
                                 request for
                                 Golkow
                                 invoices
02/08/2023 Karadeema 0.4         Review and        Analogous to     $150.00 $60.00
                                 process J&M       document and
                                 invoices          file
                                                   management
03/14/2023 Karadeema 0.25        File Notice of    Filing           $150.00 $37.50
                                 Change of Law     documents
                                 Firm
03/22/2023 Karadeema 0.5         Review and file Filing             $150.00 $75.00
                                 Plaintiff’s Brief documents
                                 in Opposition
                                 to MSJ



                                       57
       Case 4:21-cv-01683-MWB   Document 164   Filed 01/28/25   Page 58 of 73




Date          Timekeeper Hours Description       Clerical           Rate        Amount
                                                 Reason
06/12/2023 Karadeema 0.25        Correspondence Analogous to        $150.00 $37.50
                                 with Plaintiff  document
                                 regarding       management
                                 requested
                                 documents for
                                 review
07/03/2023 Karadeema 0.25        Review and      Analogous to       $150.00 $37.50
                                 save Opinion    document and
                                 from Judge to   file
                                 file            management
07/05/2023 Karadeema 0.25        Review and      Analogous to       $150.00 $37.50
                                 save Order      document and
                                 dated 7/5/2023 file
                                 to file         management
09/07/2023 Karadeema 0.25        Process         Analogous to       $150.00 $37.50
                                 deposition      document and
                                 invoice         file
                                                 management
09/26/2023 Karadeema 0.25        Correspondence Updating            $150.00 $37.50
                                 with Plaintiff  contact
                                 regarding her   information
                                 new address
                                 and phone
                                 number,
                                 updating file
09/28/2023 Karadeema 0.25        Correspondence Scheduling          $150.00 $37.50
                                 with Plaintiff
                                 regarding
                                 mediation
                                 preparation
                                 with TBA
10/02/2023 Karadeema 0.5         Booking hotel   Scheduling and     $150.00 $75.00
                                 room for        related
                                 Plaintiff for   logistics
                                 mediation
10/02/2023 Karadeema 0.25        Correspondence Scheduling and      $150.00 $37.50
                                 with Plaintiff  related
                                 regarding hotel logistics

                                       58
       Case 4:21-cv-01683-MWB   Document 164   Filed 01/28/25   Page 59 of 73




Date          Timekeeper Hours Description          Clerical        Rate        Amount
                                                    Reason
                                 reservations,
                                 parking,
                                 directions for
                                 mediation
10/04/2023 Karadeema 0.7         Prepare and file   Filing          $150.00 $105.00
                                 Letter from        documents
                                 Plaintiff to
                                 Court
10/04/2023 Karadeema 0.2         Diary           Analogous to       $150.00 $30.00
                                 conference call file
                                 with Judge to   management
                                 TBA, JGBIII     and
                                 calendars       calendaring
10/20/2023 Karadeema 0.2         Review and      Analogous to       $150.00 $30.00
                                 diary           file
                                 Scheduling      management
                                 Order           and
                                                 calendaring
11/06/2023 Karadeema 0.2         Correspondence Analogous to        $150.00 $30.00
                                 with JAMS       document and
                                 regarding       file
                                 invoice         management
11/09/2023 Karadeema 0.5         Review and file Filing             $150.00 $75.00
                                 Motion to       documents
                                 Reschedule
                                 Pretrial
                                 Conference
11/17/2023 Karadeema 0.5         Correspondence Analogous to        $150.00 $75.00
                                 with Judge’s    communication
                                 chambers        with process
                                 requesting      server or court
                                 Word version    clerk
                                 of Exhibit List
01/02/2024 Karadeema 0.5         Reviewing and Filing               $150.00 $75.00
                                 filing Motions  documents
                                 in Limine



                                       59
       Case 4:21-cv-01683-MWB   Document 164   Filed 01/28/25     Page 60 of 73




Date          Timekeeper Hours Description          Clerical          Rate        Amount
                                                    Reason
01/02/2024 Karadeema 1           Preparing          Preparing         $150.00 $150.00
                                 exhibits for       exhibits
                                 brief
01/16/2024 Karadeema 0.5         Acquire and        Preparing         $150.00 $75.00
                                 process brief      exhibits
                                 exhibits
01/29/2024 Karadeema 0.5         Discussion with    Filing            $150.00 $75.00
                                 TBA regarding      documents
                                 Filing of Reply
                                 Brief and
                                 exhibits
01/30/2024 Karadeema 0.5         Refiling Brief     Filing            $150.00 $75.00
                                 in Support         documents
02/09/2024 Karadeema 0.5         Correspondence     Analogous to      $150.00 $75.00
                                 with JAMS          document and
                                 regarding          file
                                 mediation          management
                                 payment and
                                 refund
03/12/2024 Karadeema 2           Prepare exhibits   Preparing         $150.00 $300.00
                                 for uploading      exhibits
                                 into Trial
                                 Director
                                 program with
                                 Bates numbers,
                                 putting in
                                 binder for TBA
                                 for use at trial
03/13/2024 Karadeema 4           Gathering and      Preparing         $150.00 $600.00
                                 preparing trial    binders and
                                 documents for      documents
                                 trial binders
03/21/2024 Karadeema 0.5         Matters            Attorney          $150.00 $75.00
                                 regarding          admissions
                                 attorney Jamie
                                 Bordas
                                 admission to
                                 district cour

                                       60
       Case 4:21-cv-01683-MWB   Document 164   Filed 01/28/25   Page 61 of 73




Date          Timekeeper Hours Description         Clerical         Rate        Amount
                                                   Reason
03/21/2024 Karadeema 2.5         Prepare 24        Preparing        $150.00 $375.00
                                 exhibits and file exhibits
                                 same
03/28/2024 Karadeema 0.25        Correspondence Analogous to        $150.00 $37.50
                                 with Billing      document and
                                 associate at      file
                                 Thomson           management
                                 Rhodes and
                                 Cowie
                                 regarding
                                 expense report
03/28/2024 Karadeema 0.5         Editing trial     Preparing        $150.00 $75.00
                                 exhibits by       exhibits
                                 adding
                                 additional
                                 exhibit and
                                 separating one
                                 into two
                                 documents
03/28/2024 Karadeema 1.5         Printing          Preparing        $150.00 $225.00
                                 exhibits and      exhibits and
                                 putting together binders
                                 three binders
                                 for attorney and
                                 court
03/28/2024 Karadeema 0.5         Preparing         Preparing        $150.00 $75.00
                                 exhibit binders exhibits and
                                 for mailing to    binders
                                 court, putting in
                                 mail
03/28/2024 Karadeema 0.75        Update trial      Preparing        $150.00 $112.50
                                 exhibits list     exhibits
04/01/2024 Karadeema 0.25        Correspondence Analogous to        $150.00 $37.50
                                 with Billing      document and
                                 associate at      file
                                 Thomson           management
                                 Rhodes and
                                 Cowie

                                       61
       Case 4:21-cv-01683-MWB   Document 164   Filed 01/28/25   Page 62 of 73




Date          Timekeeper Hours Description        Clerical          Rate        Amount
                                                  Reason
                                 regarding
                                 expense report
04/01/2024 Karadeema 0.25        Review and        Analogous to $150.00 $37.50
                                 diary             file
                                 Scheduling        management
                                 Order             and
                                                   calendaring
04/04/2024 Karadeema 0.75        Correspondence Scheduling and $150.00 $112.50
                                 with IT to get    related
                                 Zoom meeting logistics
                                 set up,
                                 correspondence
                                 with Plaintiff to
                                 schedule time
                                 for Zoom,
                                 added Zoom
                                 meeting to TBA
                                 calendar
04/19/2024 Karadeema 4           Prepare billing Preparing      $150.00 $600.00
                                 entry exhibit for exhibits
                                 Fee Petition




                                       62
       Case 4:21-cv-01683-MWB            Document 164         Filed 01/28/25      Page 63 of 73




                        Appendix B: Excised Travel Time and Costs

                                      Removed Travel Time

 Date               Timekeeper Hours Description                            Rate    Amount
 11/07/2022         Anderson   3     Travel to deposition                   $375.00 $1,125.00
                                     of Patricia Holmes
                                     in State College
 11/08/2022         Anderson   3     Travel from                            $375.00 $1,125.00
                                     depositions of
                                     plaintiff and defense
                                     witnesses in State
                                     College
 12/06/2022         Anderson   2.6   Travel to depositions                  $375.00 $975.00
                                     of defense witnesses
                                     in State College
 12/06/2022         Anderson   2.6   Travel from                            $375.00 $975.00
                                     depositions of
                                     defense witnesses in
                                     State College
 10/02/2023         Anderson   5.5   Travel to mediation                    $375.00 $2,062.50
                                     in Philadelphia
 10/02/2023         Bordas     1     Travel to Pittsburgh                   $375.00 $375.00
                                     airport for mediation
 10/03/2023         Anderson   4     Travel from                            $375.00 $1,500.00
                                     mediation in
                                     Philadelphia
 10/03/2023         Bordas     6     Travel to                              $375.00 $2,250.00
                                     Philadelphia (3) and
                                     travel back (3)158




158
      This entry also contains six hours attributable to the mediation itself. This time is recoverable.
      Doc. 107 (Brief in Support of First Motion for Attorney’s Fees), Ex. A (Billing Records).

                                                   63
      Case 4:21-cv-01683-MWB            Document 164        Filed 01/28/25       Page 64 of 73




 Date             Timekeeper Hours Description                            Rate    Amount
 03/18/2023       Anderson   7.75  Attend pretrial                        $375.00 $2,906.25
                                   conference (includes
                                   travel time)159
 04/07/2024       Anderson   3.5   Travel to                              $375.00 $1,312.50
                                   Williamsport for
                                   trial
 04/07/2024       Johnson    4     Travel to                              $115.00 $460.00
                                   Williamsport for
                                   trial
 04/10/2024       Anderson   3.5   Travel from                            $375.00 $1,312.50
                                   Williamsport
 04/10/2024       Johnson    4     Travel home from                       $115.00 $460.00
                                   Williamsport
 07/25/2024       Anderson   8.95  Attend argument on                     $375.00 $3,356.25
                                   post-trial motions,
                                   includes travel
                                   time160

                                    Removed Travel Costs

 Date                              Description                       Amount
 10/31/2022                        Travel Expense TBA                $148.86
                                   11/7/22 Hotel
                                   Reservation … Re:
                                   Deposition
 11/07/2022                        Travel Expense Parking            $12.00
                                   Fee at Hyatt Place



159
    The Court removed the time it took to conduct the pretrial conference from the 10 hours listed
    in this entry to arrive at the 7.75 hours in travel time. The length of the pretrial conference was
    discerned from the Court’s internal Minute Sheet memorializing the pretrial conference.
160
    The travel time is ascertained by subtracting the length of the oral argument, as noted in the
    transcript of the oral argument, from the total hours listed for this entry. Doc. 150 (Oral
    Argument Transcript).

                                                  64
  Case 4:21-cv-01683-MWB   Document 164   Filed 01/28/25   Page 65 of 73




Date                   Description               Amount
12/06/2022             Travel Expense 12-26-22   $150.00
                       Mileage (240 Miles x
                       0.625)
10/02/2023             Travel                    $219.94
                       Chase Card Services
                       0124
10/03/2023             Travel                    $6.75
                       First National Bank of
                       Omaha FNBO (JGBIII)
                       5535
10/03/2023             Travel                    $231.45
                       First National Bank of
                       Omaha FNBO (JGBIII)
                       5535
10/03/2023             Travel                    $272.67
                       Chase Card Services
                       0124
10/03/2023             Travel                    $32.00
                       First National Bank of
                       Omaha FNBO (JGBIII)
                       5535
10/17/2023             Travel                    $362.66
                       Thomas B. Anderson
                       Bordas & Bordas
                       Attorneys, PLLC Travel
                       Reimbursement
04/11/2024             Travel                    $419.67
                       Thomas B. Anderson
                       Bordas & Bordas
                       Attorneys, PLLC Travel
                       & Trial Expenses
04/11/2024             Travel Donneshia          $338.85
                       Johnson Bordas &


                                  65
        Case 4:21-cv-01683-MWB            Document 164        Filed 01/28/25      Page 66 of 73




 Date                                Description                       Amount
                                     Bordas Attorneys, PLLC
                                     Travel & Trial Expenses
 04/24/2024                          Travel                            $2,090.73161
                                     Chase Card Services
                                     0124
 07/25/2024                          Travel                            $188.70
                                     Thomas B. Anderson,
                                     Esq. Bordas & Bordas
                                     Attorneys, PLLC Travel
                                     Reimbursement




161
      Again, I note that this request has been duplicated in the expense reports submitted to the Court.

                                                    66
  Case 4:21-cv-01683-MWB       Document 164   Filed 01/28/25     Page 67 of 73




             Appendix C: Excised Hours Related to Isolated Issues

Date                Timekeeper         Hours                   Reason
04/18/2024          Monahan            2.5 (original entry     Fee Enhancement
                                       reduced by one-
                                       third to account
                                       for block billing)
04/19/2024          Monahan            3.33 (original          Fee Enhancement
                                       entry reduced by
                                       one-third to
                                       account for block
                                       billing)
05/01/2024          Anderson           0.5                     Demonstrative
                                                               Slides
05/06/2024          Prasick            1                       Demonstrative
                                                               Slides
05/06/2024          Anderson           4.1                     Demonstrative
                                                               Slides
05/06/2024          Monahan            6 (original entry       Demonstrative
                                       reduced by two-         Slides
                                       thirds to account
                                       for block billing)
05/07/2024          Prasick            5.5                     Demonstrative
                                                               Slides
05/09/2024          Prasick            0.575 (original         Demonstrative
                                       entry reduced by        Slides
                                       one-fourth to
                                       account for block
                                       billing)
05/09/2024          Monahan            2.125 (original         Demonstrative
                                       entry reduced by        Slides
                                       one-fourth to
                                       account for block
                                       billing)
05/16/2024          Prasick            3.3                     Fee Enhancement
05/30/2024          Anderson           0.4                     Demonstrative
                                                               Slides



                                      67
  Case 4:21-cv-01683-MWB    Document 164   Filed 01/28/25     Page 68 of 73




Date             Timekeeper         Hours                   Reason
05/30/2024       Monahan            0.66 (original          Demonstrative
                                    entry reduced by        Slides
                                    one-third to
                                    account for block
                                    billing)
06/14/2024       Prasick            0.3                     Demonstrative
                                                            Slides
06/14/2024       Anderson           0.7                     Demonstrative
                                                            Slides
06/14/2024       Bordas             0.3                     Demonstrative
                                                            Slides
06/14/2024       Monahan            1                       Demonstrative
                                                            Slides
06/19/2024       Anderson           0.5                     Demonstrative
                                                            Slides
09/11/2024       Anderson           1.5                     Appellate Issues
09/17/2024       Anderson           0.6                     Appellate Issues
09/17/2024       Monahan            1.55 (original          Appellate Issues
                                    entry reduced by
                                    one-fourth to
                                    account for block
                                    billing)




                                   68
  Case 4:21-cv-01683-MWB   Document 164   Filed 01/28/25   Page 69 of 73




              Appendix D: Excised Legal Research Costs

Date                   Description                Amount
04/04/2023             Online Research            $3.60
                       Pacer Service Center Inv
                       # 5633158-Q12023
08/07/2023             Online Research            $65.85
                       Thomson Reuters – West
                       Publishing Corp. Acct
                       #1000141823
08/11/2023             Online Research            $11.90
                       Pacer Service Center Inv
                       # 566-158-Q32023
04/15/2024             Online Research            $2.80
                       Pacer Service Center
                       Acct #5633158
05/22/2024             Online Research            $1,488.66
                       Thomas Reuters-West
                       Publishing Corp. Acct
                       #100141823
05/22/2024             Online Research            $1,606.49
                       Thomas Reuters-West
                       Publishing Corp. Acct
                       #100141823
06/18/2024             Online Research            $1,016.70
                       Thomas Reuters-West
                       Publishing Corp. Acct
                       #100141823
06/18/2024             Online Research            $1,169.67
                       Thomas Reuters-West
                       Publishing Corp. Acct
                       #100141823
06/18/2024             Online Research            $1,873.43
                       Thomas Reuters-West
                       Publishing Corp. Acct
                       #100141823
07/17/2024             Online Research            $61.30
                       Pacer Service Center Inv
                       #5633158-Q22024

                                  69
  Case 4:21-cv-01683-MWB   Document 164   Filed 01/28/25   Page 70 of 73




Date                   Description               Amount
07/22/2024             Online Research           $866.80
                       Thomas Reuters-West
                       Publishing Corp. Acct
                       #100141823
07/24/2024             Online Research           $77.93
                       Thomas Reuters-West
                       Publishing Corp. Acct
                       #100141823




                                  70
  Case 4:21-cv-01683-MWB   Document 164           Filed 01/28/25     Page 71 of 73




             Appendix E: Recoverable Legal Research Costs

Date             Description              Amount                   Relevant Time
                                                                   Entries
04/01/2023       Online Research          $302.21                  Entries on March
                 Thomson Reuters                                   7, March 9, March
                 – West Publishing                                 10, March 15, and
                 Corp. Acct #                                      March 20, 2023
                 1000141823
05/01/2023       Online Research          $75.57                   Entries on April 5,
                 Thomson Reuters                                   2023
                 – West Publishing
                 Corp. Acct
                 #1000141823
09/01/2023       Online Research          $82.25                   Entries on August
                 Thomson Reuters                                   10 and August 11,
                 – West Publishing                                 2023
                 Corp. Acct
                 #1000141823
10/01/2023       Online Research          $47.42                   Entries on
                 Thomson Reuters                                   September 25,
                 – West Publishing                                 September 26, and
                 Corp. Acct                                        September 27,
                 #100141823                                        2023
11/01/2023       Online Research          $329.63                  Entries on October
                 Thomson Reuters                                   3 and October 11,
                 – West Publishing                                 2023
                 Corp. Acct
                 #1000141823
11/07/2023       Online Research          $0.60                    Entry on
                 Pacer Service                                     November 7, 2023
                 Center Inv# 5633-
                 158-Q42023




                                     71
  Case 4:21-cv-01683-MWB   Document 164        Filed 01/28/25     Page 72 of 73




Date             Description              Amount                Relevant Time
                                                                Entries
12/01/2023       Online Research          $89.33                Entry on
                 Thomson Reuters                                November 10,
                 – West Publishing                              2023
                 Corp. Acct
                 #1000141823
01/01/2024       Online Research          $95.15                Entries on
                 Thomson Reuters                                December 18,
                 – West Publishing                              December 19,
                 Corp. Acct#                                    December 20, and
                 1000141823                                     December 21,
                                                                2023
02/01/2024       Online Research          $283.51               Entries on January
                 Thomson Reuters                                2, January 3,
                 – West Publishing                              January 4, January
                 Corp. Acct #                                   8, January 9,
                 1000141823                                     January 25,
                                                                January 27, and
                                                                January 29, 2024
04/01/2024       Online Research          $1,127.79             Entries on March
                 Thomson Reuters                                14, March 15,
                 – West Publishing                              March 21, and
                 Corp. Acct #                                   March 25, 2024
                 1000141823




                                     72
   Case 4:21-cv-01683-MWB   Document 164        Filed 01/28/25   Page 73 of 73




                Appendix F: Remaining Recoverable Costs

Date       Description                     Amount     Relevant Time Entries
09/30/2021 Filing Fees – Pennsylvania      $402.00    Entries on September 9, and
           Middle District Court –                    September 30, 2021
           Complaint
11/02/2022 Schnader Harrison Segal &       $150.00    Entries on November 2 and
           Lewis, LLP; Invoice #                      November 7, 2022
           20185 11-2-22; Conference
           Room
11/28/2022 Court Reporter                  $224.75    Entries on November 28 and
           Johnson & Mimless                          November 29, 2022
           Transcript Services
12/19/2022 Court Reporter                  $331.00    Entries on December 14 and
           Johnson & Mimless                          December 19, 2022
           Transcript Service
09/05/2023 Mediation Costs                 $4,800.00 Entries on August 18, 24, 28,
           JAMS, Inc. Mediation                      and 30, 2023 and September 7,
                                                     2023
04/01/2024 Federal Express                 $43.62    There is no time entry for this
           Federal Express Acct No.                  cost, but the Court is aware this
           6420-6533-5                               was incurred due to the Court’s
                                                     procedures regarding trial
                                                     exhibits.
04/01/2024 Federal Express                 $65.33    There is no time entry for this
           Federal Express Acct No.                  cost, but the Court is aware this
           6420-6533-5                               was incurred due to the Court’s
                                                     procedures regarding trial
                                                     exhibits
04/22/2024 Court Reporter                  $414.00   There is no time entry for this
           Colleen V. Wentz Trial                    cost, but the Court is aware that
           Transcripts                               this was incurred to purchase
                                                     the transcript from the trial.
08/06/2024 Court Reporter                  $210.00   There is no time entry for this
           Colleen V. Wentz                          cost, but the Court is aware that
           Transcript Services                       this was incurred to purchase
                                                     the transcript from the oral
                                                     argument the Court held.



                                      73
